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 6

 7                                UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9                                          WESTERN DIVISION
10

11   ERIC HOLLOWAY, deceased, by and through his
     legal representative and successor in interest, ) Case No.
12   SHALIMAH ABDULLAH; and SHALIMAH                 )
     ABDULLAH, individually,
13                                                     NOTICE OF REMOVAL OF CIVIL ACTION
                                                     )
14                  Plaintiffs,                        [Re: Los Angeles County Superior Court Case
             vs.                                     )
15                                                     No. 21STCV17868]
                                                     )
16
     CENTINELA SKILLED NURSING
     &WELLNESS CENTRE WEST, LLC dba                  )
17   CENTINELA SKILLED NURSING
     &WELLNESS CENTRE WEST, a California             )
18
     Skilled Nursing Facility; BRIUS
     MANAGEMENT CO., a California company;           )
19
     TAMAR RECHNITZ, an individual; and DOES
                                                     )
20   1-25, inclusive,
21                  Defendants,                      )

22   -and-                                             )

23                                         )
     SAIDAH HOLLOWAY, an individual; AKBAR
24   ABDULLAH, an individual; and RIHEIM   )
     HOLLOWAY, an individual,
25                                         )
26                 Nominal Defendants.                 )
27

28




                                                           1

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 1          COME NOW, Defendants CENTINELA SKILLED NURSING &WELLNESS CENTRE
 2   WEST, LLC and BRIUS MANAGEMENT, CO. (“Defendants”), 1 by and through their undersigned
 3   counsel, hereby remove this action from the Superior Court of the State of California, County of Los
 4
     Angeles, to the United States District Court for the Central District of California, Western Division,
 5
     reserving all defenses and reserving all objections to venue based on 42 U.S.C. § 247d-6d(e)(1),
 6
     pursuant to 28 U.S.C. §§ 1441, 1442, and 1446, on the following grounds:
 7
                                     I.      STATEMENT OF THE CASE
 8
            1.      This action was filed in the Superior Court of the County of Los Angeles, California as
 9
     Case No. 21STCV17868 on May 12, 2021. (Ex. A, Complaint.)
10
            2.      Defendants were collectively served with the Summons and Complaint on June 28, 2021.
11
     (Ex. E, Proofs of Service.) Accordingly, this Notice of Removal is timely. See 28 U.S.C. § 1446(b);
12
     Fed. R. Civ. Proc. 6(a)(1).
13
            3.      The Complaint asserts causes of action for alleged elder abuse (Cal. Welfare & Inst. Code
14

15
     § 15600), violation of resident’s rights (Cal. Health & Safety Code § 1430(b)), negligence, and wrongful

16   death resulting from alleged misconduct by a covered person in the administration of covered

17   countermeasures under the Public Readiness and Emergency Preparedness Act (“PREP Act”), 42

18   U.S.C. §§ 247d-6d(d), 247d-6e. (See, e.g., Ex. A, Compl. at 10-11.)

19          4.      More specifically, Plaintiffs claim that Defendants engaged in negligent and/or willful
20   misconduct in the care rendered to Decedent Eric Holloway during a period when both he and the
21   facility were impacted by exposure, diagnosis, and treatment of COVID-19 and in the distribution,
22   administration, or use of medical countermeasures, like segregation, social distancing, COVID-19
23
     testing and personal protective equipment (PPE), to prevent the spread of COVID-19 within the skilled
24
     nursing facility (SNF) for the elderly known as Centinela Skilled Nursing &Wellness Centre West
25
     (“Centinela”), where Decedent resided. (See, e.g., Ex. A, Comp. at 10-11.)
26

27   1
      Although Plaintiffs have named as a defendant TAMAR RECHNITZ, Mrs. Rechnitz has not been
28   served and is not part of the state court proceeding.



                                                          2

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 1           5.           The Complaint seeks damages including compensation for general damages, special
 2   damages, punitive damages, statutory damages, costs of suit, and attorney’s fees. (Ex. A, Compl. at 25-
 3   26.)
 4
                                        II.     PROCEDURAL REQUIREMENTS
 5
             6.           This notice is filed on behalf of Defendants in the above-styled case pursuant to 28
 6
     U.S.C. § 1446(b)(2)(A).
 7
             7.           Concurrent with the filing of this Notice or promptly thereafter, Defendants are serving
 8
     this Notice of Removal on all other parties pursuant to § 1446(d).
 9
             8.           Pursuant to § 1446(a), copies of pleadings and documents from the Superior Court for the
10
     County of Los Angeles served upon or provided to Defendants are attached as Exhibit A.
11
                   III.      FEDERAL QUESTION JURISDICTION UNDER 28 U.S.C. § 1441(a)
12
             9.           This case is removable under 28 U.S.C.A. § 1441(a) on the basis of original jurisdiction
13
     because Plaintiffs assert a claim arising under federal law withing the meaning of § 1331.
14

15
             10.          On its face, the allegations contained in the Complaint reflect that a “covered person”

16   was involved in “recommended activity” relative to a “covered countermeasure” and therefore presents

17   a federal question under the PREP Act, 42 U.S.C. §§ 247d-6d, 247d-6e.

18           11.          As such, Congress provided an exclusive remedy for the substance of the allegations, and

19   relief sought in the Complaint and Federal law expressly pre-empts state law for purposes of federal
20   question jurisdiction. §§ 247d-6d, 247d-6e.
21           12.          Federal courts have found “complete preemption” where a federal statute expressly
22   preempts state law and creates an exclusive federal remedy for preempted state claims. See, e.g., Fossen
23
     v. Blue Cross & Blue Shield of Mon., Inc., 660 F.3d 1102, 1107 (9th Cir. 2011); In re WTC Disaster
24
     Site, 414 F.3d 352, 380 (2d Cir. 2005); Spear Marketing, Inc. v. Bancorp South Bank, 791 F.3d 586 (5th
25
     Cir. 2015); Nott v. Aetna U.S. Healthcare, Inc., 303 F.Supp.2d 565 (E.D. Pa. 2004). Further, federal
26
     defenses that will be asserted by defendants are sufficient to invoke complete preemption. Jefferson
27
     Cty. v. Acker, 527 U.S. 423, 431 (1999).
28




                                                                3

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 1           13.     Here, as set forth below, Defendants assert that the claims alleged in the Complaint and
 2   the defenses to them are completely preempted by the PREP Act sections found at §§ 247d-6d and
 3   247d-6e. See Bruesewitz v. Wyeth LLC, 562 U.S. 223, 253 (2011) (Sotomayor, J., dissenting) (where the
 4
     majority found the National Childhood Vaccine Injury Act preempted state law, Justices Sotomayor &
 5
     Ginsburg further analyzed that the PREP Act unequivocally demonstrated intent to completely preempt
 6
     state law through its use of “categorical (e.g., ‘all’) and/or declarative language (e.g., ‘shall’)”).
 7
             14.     Under § 247d-6d(a), a “covered person” is afforded broad immunity for all “claims for
 8
     loss arising out of, relating to, or resulting from” the “administration” or "use" of a “covered
 9
     countermeasure” as those terms are defined by that section, provided the Secretary of the Department of
10
     Health and Human Services (HHS) issues a declaration to that effect.
11
             15.     For all claims barred by immunity under § 247d-6d that do not assert “willful
12
     misconduct,” the exclusive remedy for relief is established under § 247d-6e, which permits an individual
13
     to make a claim for benefits through the Countermeasures Injury Compensation Program, also known as
14

15
     the Fund, for a “covered injury directly caused by the administration or use of a covered

16   countermeasure.” In fact, and for purposes of illustrating Congress’s intent to address all claims, even a

17   claimant alleging “willful misconduct” must first apply for benefits through the Fund under § 247d-6e

18   before bringing an action under § 247d-6d(d). § 247d-6e(d)(1). Further, even where a plaintiff has

19   alleged willful misconduct and exhausted his remedies relative to the Fund, such plaintiff is limited to
20   “an exclusive Federal cause of action” for willful misconduct “maintained only in the United States
21   District Court for the District of Columbia.” § 247d-6d(d)-(e)(1) (emphasis added).
22           16.     Moreover, under § 247d-6d(b)(8), state law that “is different from, or in conflict with,
23
     any requirement applicable [for immunity]” is expressly preempted.
24
             17.     Therefore, Congress has clearly manifested the intent to preempt state law with respect to
25
     claims or defenses that invoke PREP Act immunity and to create an exclusive federal remedy for such
26
     preempted claims, thereby “completely preempting” state law for purposes of federal question
27
     jurisdiction. See Bruesewitz, 562 U.S. at 253.
28




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 1          18.     Here, as alleged in the Complaint, Defendants are “covered person[s]” in that Centinela is
 2   a SNF licensed by the State of California. Further, Centinela, as well as its employees and affiliates are
 3   “covered persons” because each meet the requirements of a “program planner” of countermeasures
 4
     under the PREP Act and are “qualified persons who prescribed, administered or dispensed” a
 5
     countermeasure under the PREP Act. This was confirmed by the Office of the General Counsel, HHS in
 6
     an opinion letter dated August 14, 2020, stating that senior living communities administering covered
 7
     countermeasures are “covered persons,” entitled to immunity under the PREP Act by virtue of their
 8
     status as both “program planners” and “qualified persons.” (Attached as Exhibit B.)
 9
            19.     Plaintiffs’ claims “arise[] out of, relate[] to, or result[] from” the administration and use
10
     of a “covered countermeasure” obtained through a “means of distribution,” to a “population,” and within
11
     a “geographic area,” or reasonably believed so by Defendants, for the purpose of treating, diagnosing,
12
     curing, preventing, or mitigating COVID-19, or the transmission of SARS-CoV-2 or a virus mutating
13
     therefrom, as such terms are defined within the PREP Act, §§ 247d-6d, 247d-6e, the Declaration under
14

15
     the Public Readiness and Emergency Preparedness Act for Medical Countermeasures against COVID-

16   19, 85 Fed. Reg. 15198 (Mar. 17, 2020), amended by 85 Fed. Reg. 21012 (Apr. 15, 2020), and all

17   corresponding amendments, regulations, and interpretational case law.

18          20.     At the time of the allegations set forth in the Complaint, and based on such allegations,

19   Defendants were acting as “program planner[s]” that supervised the infection control policy program,
20   under which FDA-approved personal protective equipment including, inter alia, N95 respirators, face
21   shields, and gowns as well as diagnostic countermeasures were distributed and administered to Decedent
22   and the Centinela staff in an effort to diagnose, mitigate, and prevent COVID-19, or the transmission of
23
     SARS-CoV-2 or a virus mutating therefrom. Further, Centinela’s employees and affiliates were acting
24
     as employees of “program planner[s]” that supervised and administered the infection control program
25
     that provided and used FDA-approved countermeasures on Decedent and the Centinela staff in an effort
26
     to diagnose and mitigate COVID-19, or the transmission of SARS-CoV-2 or a virus mutating therefrom.
27

28




                                                           5

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 1           21.     At the time of the allegations set forth in the Complaint, and based on such allegations,
 2   Centinela’s employees and affiliates were acting as “qualified persons” because Centinela’s employees
 3   were authorized to administer, deliver, and use FDA-covered countermeasures, like personal protective
 4
     equipment and FDA-approved COVID-19 devices, medication, and diagnostic tests to diagnose and
 5
     prevent COVID-19, or the transmission of SARS-CoV-2 or a virus mutating therefrom.
 6
             22.     At the time of the allegations set forth in the Complaint, and based on such allegations,
 7
     Defendants were engaged in the management and operation of countermeasure programs in an effort to
 8
     diagnose and prevent COVID-19, or the transmission of SARS-CoV-2 or a virus mutating therefrom to a
 9
     “population” and within a “geographic area” specified by the Declaration under the PREP Act for
10
     Medical Countermeasures against COVID-19, 85 Fed. Reg. 15198 (Mar. 17, 2020), and all amendments
11
     thereto (“Declaration”), or reasonably believed so by Defendants. Likewise, Centinela’s employees and
12
     affiliates were physically providing the countermeasures to Decedent and using the countermeasures in
13
     an effort to diagnose and prevent COVID-19, or the transmission of SARS-CoV-2 or a virus mutating
14

15
     therefrom to a “population” and within a “geographic area” specified by the Declaration, and all

16   amendments thereto, or reasonably believed so by Defendants. The HHS Secretary confirmed the same

17   in a guidance letter dated August 31, 2020 that diagnostic testing for COVID-19 in senior living

18   communities qualifies as a “covered countermeasure” triggering PREP Act immunity. (Attached as

19   Exhibit C.) 2
20           23.     At the time of the allegations set forth in the Complaint, the respirators and PPE used by
21   Centinela were approved by the FDA as a qualified pandemic or epidemic product and were respiratory
22   protective devices approved by the National Institute for Occupational Safety and Health under 42 CFR
23
     part 84, and were administered, delivered, distributed, and dispensed in accordance with the public
24
     health and medical response of the State of California or reasonably believed so by Defendants. As
25

26

27   2
      Also available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/prep-act-
28   coverage-for-screening-in-congregate-settings.pdf.



                                                           6

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 1   noted above, Plaintiffs’ claims “arise[] out of, relate[] to, or result[] from” the administration and use of
 2   such “covered countermeasures.”
 3          24.     On January 8, 2021, HHS General Counsel issued new controlling authority (hereinafter
 4
     “AO 21-01,” attached as Exhibit D) 3 confirming unequivocally that: (1) the PREP Act is invoked by
 5
     allegations like those in the Complaint, including alleged inaction or failure to act; (2) the PREP Act is a
 6
     “‘Complete Preemption’ Statute” which confers federal question removal jurisdiction under 28 U.S.C. §
 7
     1441(a); and (3) as discussed in more detail below, federal jurisdiction is separately conferred in such
 8
     cases under the doctrine articulated by the Supreme Court in Grable & Sons Metal Prod., Inc. v. Darue
 9
     Eng’g & Mfg., 545 U.S. 308 (2005), because “ordaining the metes and bounds of PREP Act protection
10
     in the context of a national health emergency necessarily means that the case belongs in federal court.”
11
     (Emphasis added.)
12
            25.     AO 21-01 unequivocally states that “[t]he PREP Act is a ‘Complete Preemption’
13
     Statute,” because it establishes both a federal and administrative cause of action as the only viable claim,
14

15
     and vests exclusive jurisdiction in federal court.” (Ex. D at 2.)

16          26.     AO 21-01 rejects the notion that immunity under the PREP Act requires actual “use” of a

17   covered countermeasure. Specifically, AO 21-01 provides that “this ‘black and white’ view clashes with

18   the plain language of the PREP Act, which extends immunity to anything ‘relating to’ the administration

19   of a covered countermeasure.” (Ex. D at 3.)
20          27.     Specifically, AO 21-01 provides that “[p]rioritization or purposeful allocation of a
21   Covered Countermeasure, particularly if done in accordance with a public health authority’s directive,
22   can fall within the PREP Act and this Declaration[’]s liability protections. There can potentially be
23
     other situations where a conscious decision not to use a covered countermeasure could relate to the
24
     administration of the countermeasure.” (Ex. D at 3, emphasis added.) Thus, “program planners” fall
25

26
     3
27
      Also available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
     documents/2101081078-jo-advisory-opinion-prep-act-complete-preemption-01-08-2021-final-hhs-
28   web.pdf.



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 1   within the set of “covered persons” under the PREP Act and the “decision-making that leads to the non-
 2   use of covered countermeasures by certain individuals is the grist of program planning, and is expressly
 3   covered by PREP Act.” (Id. at 4, emphasis added.)
 4
            28.     In the fourth amendment to the Declaration, the HHS Secretary expressly addressed
 5
     inaction, as the Secretary defined “administration” of covered countermeasures to include not only
 6
     physical use, but non-use, such as activities and decisions, as well as management and operation, of
 7
     countermeasure programs generally. This distinction makes “explicit that there can be situations where
 8
     not administering a covered countermeasure to a particular individual can fall within the PREP Act and
 9
     this Declaration’s liability protections.” 85 Fed. Reg. 79190, 79194 (emphasis added) & 79197
10
     (examples of such situations) (Dec. 9, 2020).
11
            29.     Because Centinela and its employees are Covered Persons and because Plaintiffs’
12
     allegations concern Defendants’ conscious decisions to use or not use covered countermeasures,
13
     including “implementing policies and procedures relating to infectious diseases” and PPE, the
14

15
     Complaint’s claims and Defendants’ defenses squarely fall within the PREP Act.

16          30.     As confirmed in AO 21-01, when the PREP Act is triggered, complete preemption

17   attaches. Indeed, “[t]he sine qua non of a statute that completely preempts is that it establishes either a

18   federal cause of action, administrative or judicial, as the only viable claim or vests exclusive jurisdiction

19   in a federal court. The PREP Act does both.” (Ex. D at 2.)
20          31.     AO 21-01 is binding on this court, as the HHS Secretary incorporated all HHS Advisory
21   Opinions pertaining to COVID-19 into the PREP Act’s implementing Declaration itself and proclaimed
22   that the Declaration “must” be construed in accordance with them. 85 Fed. Reg. at 79191. As such, the
23
     HHS Advisory Opinions are no longer “advisory,” as they now have the same “controlling weight” as
24
     the Declaration and the PREP Act itself. Where Congress has expressly delegated interpretative
25
     authority to an agency, that agency’s interpretative proclamations are controlling on the federal courts.
26
     Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843-44 (1984). To avoid any doubt on this point, the
27
     Secretary amended the Declaration for a fifth time, confirming again in the Declaration itself that the
28




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 1   PREP Act is a complete preemption statute. 86 Fed. Reg. 7872, 7873-74 (Feb. 2, 2021). 4 Congress has
 2   reinforced the Secretary’s ultimate authority over these matters concerning the PREP Act, and warns
 3   that “[n]o court . . . shall have subject matter jurisdiction to review, whether by mandamus or otherwise,
 4
     any action by the Secretary under [the PREP Act].” 42 U.S.C. § 247d-6d(b)(1), (4) & (7). Thus, the
 5
     federal courts must follow AO 21-01’s controlling authority that the PREP Act is a complete preemption
 6
     statute.
 7
                32.   AO 21-01 itself was preceded by other HHS authorities that have provided guidance to
 8
     the courts in construing the PREP Act. For example, Advisory Opinion 20-04 confirms that any
 9
     individual or organization can potentially be a program planner and receive PREP Act coverage--“even
10
     grocery stores, universities, private businesses, places of worship, and private transportation providers.” 5
11
     And, as described above, HHS issued separate guidance letters specifically confirming that residential
12
     care facilities for the elderly are program planners or qualified persons under the PREP Act when they
13
     administer or use diagnostic testing and other covered countermeasures. (See n.1, ante.)
14

15
                33.   In a recent case with allegations similar to the instant one, and following a motion to

16   remove from California state court, the court in Garcia v. Welltower OpCo Group LLC, 2021 U.S. Dist.

17   LEXIS 25738 (C.D. Cal. Feb. 10, 2021) denied the plaintiff’s motion to remand and granted the

18   defendants’ motion to dismiss. The court there found that the plaintiff's allegations included the “use

19   and misuse of PPE” and detailed “infection control measures and procedures including symptom
20   checking, staff monitoring and screening, and limiting visitation.” (Id. at *8.) Specifically, the court
21   held: (1) “[t]he acts and omissions alleged by Plaintiffs appear almost verbatim in the January 8, 2021
22   Advisory Opinion” and, accordingly, the PREP Act applied to the plaintiffs’ claims (id. at *14); (2)
23
     “because the OGC stated [in the January 8, 2021 Advisory Opinion] that the PREP Act is a complete
24
     preemption statute . . . an adequate basis for federal question jurisdiction exists” (id.); (3) prior federal
25

26   4
       Notably, this Fifth Amendment was done under the new Biden Administration, meaning that the
27
     HHS’s interpretation of the PREP Act is nonpolitical.
     5
       Available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
28   documents/AO%204.2_Updated_FINAL_SIGNED_10.23.20.pdf.



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 1   opinions holding that the PREP Act did not provide a basis for federal question jurisdiction preceded
 2   more recent guidance from the OGC (Advisory Opinion published January 8, 2021), which established
 3   that “when a party attempts to comply with federal guidelines--in this case the COVID-19 pandemic--
 4
     the PREP Act would provide complete preemption” (id. at 10); and (4) “While the Court acknowledges
 5
     that certain allegations relate to a failure to abide by local or federal health guidelines, these allegations
 6
     related to momentary lapses. Taken as true, all Plaintiffs’ FAC discloses are possible unsuccessful
 7
     attempts at compliance with federal or state guidelines--something which the PREP Act, the
 8
     Declaration, and the January 8, 2021 Advisory Opinion cover.” (Id. at 14.)
 9
               34.    Furthermore, since the Garcia decision, the HHS Secretary amended the Declaration a
10
     sixth time, reaffirming, “The plain language of the PREP Act makes clear that there is preemption of
11
     state law as described above.” 86 Fed. Reg. 9516, 9517 (Feb. 16, 2021); 6 see generally Rachal v.
12
     Natchitoches Nursing & Rehab. Ctr., LLC, 2021 U.S. Dist. LEXIS 105847, *4 n.3 (W.D. La. Apr. 30,
13
     2021).
14

15
               35.    Despite Plaintiffs’ assertion of state law claims, because the PREP Act offers complete

16   preemption, jurisdiction over the claims is exclusively federal. See Beneficial Nat. Bank v. Anderson,

17   539 U.S. 1, 8 (2003) (“[w]hen the federal statute completely preempts the state-law cause of action, a

18   claim which comes within the scope of that cause of action, even if pleaded in terms of state law, is in

19   reality based on federal law”). Thus, under preemption doctrine alone, removal is proper under 28
20   U.S.C. § 1441(a).
21             36.    In addition to complete preemption, AO 21-01 confirms that the PREP Act confers
22   separate, independent grounds for federal question jurisdiction under the Grable doctrine. AO 21-01
23
     highlights the Secretary’s conclusion in the Declaration that “there are substantial federal legal and
24
     policy issues, and substantial federal legal and policy interests within the meaning of [the Grable
25

26

27
     6
28       See n.3, ante, regarding the nonpolitical nature of the HHS interpretation.



                                                             10

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 1   doctrine] in having a unified, whole-of-nation response to the COVID-19 pandemic among federal,
 2   state, local, and private sector entities.” (Ex. D at 5 (quoting 85 Fed. Reg. at 79197).)
 3          37.     The Advisory Opinion’s interpretation of Grable is consistent with the Supreme Court’s
 4
     long-standing rule “that in certain cases federal question jurisdiction will lie over state-law claims that
 5
     implicate federal issues.” Grable, 545 U.S. at 312. “The doctrine captures the commonsense notion that
 6
     a federal court ought to be able to hear claims recognized under state law that nonetheless turn on
 7
     substantial questions of federal law, and thus justify resort to the experience, solicitude, and hope of
 8
     uniformity that a federal forum offers on federal issues.” Id.
 9
            38.     The Grable Court determined that no single, precise test exists for determining whether
10
     an embedded federal issue exists, but that, in general, a two-step process exists for determining whether
11
     a state law claim “arises under” federal law: (1) the state law claim must necessarily raise a stated
12
     federal issue that is actually disputed and substantial; and (2) federal courts must be able to entertain the
13
     state law claims “without disturbing a congressionally approved balance of state and federal judicial
14

15
     responsibilities.” Grable, 545 U.S. at 314. Here, both prongs are satisfied.

16          39.     First, Plaintiffs bring a claim as a result of Defendants’ alleged use or administration (or

17   nonuse or non-administration) of covered countermeasures in connection with the care and treatment of

18   the Decedent, which necessarily implicates disputed and substantial federal issues. See 42 U.S.C. §

19   247d-6d.
20          40.     Second, as confirmed by the Advisory Opinion and the Declaration, the PREP Act
21   expresses a clear intention to supersede and preempt state control of the very issues raised by Plaintiffs,
22   i.e., issues concerning Defendants’ decisions to use or not use covered countermeasures, including the
23
     use or non-use of PPE. A substantial and disputed federal issue regarding the application of the PREP
24
     Act to Plaintiffs’ claims therefore necessarily exists and must be resolved by this Court to ensure the
25
     uniform and appropriate application of the PREP Act.
26
            41.     Courts have long recognized federal jurisdiction under the Grable doctrine. See, e.g.,
27
     McKay v. City & Cty. of San Francisco, 2016 U.S. Dist. LEXIS 178436, *13-14 (N.D. Cal. Dec. 23,
28




                                                           11

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 1   2016) (finding federal jurisdiction under Grable where plaintiff’s request that court enjoin use of flight
 2   paths was “tantamount” to a challenge to the validity of an FAA decision); Bender v. Jordan, 623 F.3d
 3   1128, 1131 (D.C. Cir. 2010) (finding federal jurisdiction under Grable where breach of contract action
 4
     arose under federal law because agreement was required by federal law and turned on interpretation of
 5
     federal regulations).
 6
            42.         The two-step process is also satisfied where the alleged dispute “could have” supported
 7
     the defendant’s assertion of a federal declaratory judgment action. See Hollyvale Rental Holdings, LLC
 8
     v. Baum, 2018 U.S. Dist. LEXIS 56435, at *9 (D. Nev. Mar. 31, 2018) (Grable federal question
 9
     jurisdiction existed under the “coercive action” doctrine where defendant “could have . . . brought a
10
     separate federal declaratory judgment action”).
11
            43.         The Grable doctrine and PREP Act are thus directly applicable to Plaintiffs’ claims in
12
     any event and support this Court’s jurisdiction.
13
                  IV.      FEDERAL OFFICER JURISDICTION UNDER 28 U.S.C. § 1442(a)(1)
14
            44.         This case is further removable under 28 U.S.C. § 1442(a)(1), which provides for removal
15
     when a defendant is sued for acts undertaken at the direction of a federal officer. “Unlike the general
16
     removal statute, the federal officer removal statute [Section 1442(a)] is to be ‘broadly construed’ in
17
     favor of a federal forum.” In re Commonwealth’s Motion to Appoint Counsel against or Directed to
18
     Def. Ass’n of Philadelphia, 790 F.3d 457, 466 (3d Cir. 2015). The case is removable pursuant to §
19
     1442(a) because “(1) Defendants are ‘persons’ within the meaning of the statute; (2) the Plaintiffs’
20
     claims are based upon Defendants’ conduct ‘acting under’ the United States, its agencies, or its officers;
21
     (3) the Plaintiffs’ claims are ‘for, or relating to’ an act under color of federal office; and (4) Defendants
22
     raise a colorable federal defense to the Plaintiff’s claims.” Papp v. Fore-Kast Sales Co., 842 F.3d 805,
23
     811 (3d Cir. 2016). All requirements for removal under § 1442(a)(1) are satisfied here.
24
            45.         The “acting under” requirement, like the federal removal statute overall, is to be
25
     “liberally construe[d]” to cover actions that involve “an effort to assist, or to help carry out, the federal
26
     supervisor’s duties or tasks.” Ruppel v. CBS Corp., 701 F.3d 1176, 1181 (7th Cir. 2012) (quoting
27
     Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 147 (2007)); see In re Commonwealth, 790 F.3d at
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 1   468. To satisfy the second requirement, “a private person’s actions ‘must involve an effort to assist, or
 2   to help carry out, the duties or tasks of the federal superior.’” Watson, 551 U.S. at 152. Federal courts
 3   “have explicitly rejected the notion that a defendant could only be ‘acting under’ a federal officer if the
 4   complained-of conduct was done at the specific behest of the federal officer or agency.” Papp, 842 F.3d
 5   at 813. Instead, a specific instruction from a federal officer or a detailed regulation to compel specific
 6   conduct satisfies the second requirement. See, e.g., Winters v. Diamond Shamrock Chem. Co., 149 F.3d.
 7   387, 398-99 (5th Cir. 1998) (the federal government’s specifications for the composition of Agent
 8   Orange conferred federal officer jurisdiction on the independent contractor); Jane Doe v. UMPM, 2:20-
 9   cv-00359 (W.D. Pa. July 31, 2020) (hospital’s creation and enhancement of website to encourage its use
10   to further goals of DHHH’s push for shareable electronic medical records conferred federal officer
11   jurisdiction; whether federal law preempts state law and whether a private entity’s conduct was outside
12   the scope of its federal duties “is the very thing that should be left to a federal court to decide”).
13           46.     Here, Defendants, in taking steps to prevent the spread of COVID-19, did so in
14   compliance with CDC and CMS directives, which were aimed at helping achieve the federal
15   government’s efforts at stopping or limiting the spread of COVID-19. On March 10, 2020, CMS
16   published a memorandum clarifying and amending policies and guidance in light of the CDC’s
17   expansion of the types of facemasks healthcare workers may use in situations involving COVID-19. 7 In
18   doing so, CMS acknowledged the federal government was taking “critical steps” to prepare health care
19   facilities to respond to COVID-19 and acknowledged the need to “explore flexibilities and innovative
20   approaches within our regulations to allow health care entities to meet the critical health needs of the
21   country.” The memorandum issued on this date cites specifically to updated guidance from the CDC
22   addressing the supply, allocation, and use of various items utilized to prevent the spread of infection and
23   directly treat the virus.
24           47.     Furthermore, Defendants, in offering skilled nursing facilities and care, are subject to a
25   high degree of federal regulation enacted to achieve the federal objective of allowing each resident in
26
     7
27
       Centers for Medicare & Medicaid Services, Guidance for use of Certain Industrial Respirators by
     Health Care Personnel (March 10, 2020) (available at https://www.cms.gov/files/document/qso-20-17-
28   all.pdf).



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 1   long term care facilities to “attain and maintain [] highest practicable physical, mental, and psychosocial
 2   well-being.” § 1396r; see § 1395i-3; 42 C.F.R § 483. Providers of services seeking to participate in the
 3   Medicare or Medicaid program, or both, must enter into an agreement with the HHS Secretary or the
 4   state Medicaid agency, as appropriate. Long term care facilities seeking to be Medicare and Medicaid
 5   providers of services must be certified as meeting federal participation requirements. 81 FR 68688. The
 6   federal government has a stated objective to provide for the care of nursing home residents and created a
 7   mandatory federal regulatory framework to convert the private entities such as Centinela previously
 8   performing this service as federal officers or agents.
 9          48.     The present COVID-19 pandemic resulted in several new regulations directives, guidance
10   and requirements issued as a result of the Federal government acting through the regulatory framework
11   of CMS and the CDC to convert nursing homes into frontline responders to the national COVID crisis.
12   Indeed, the CDC acknowledged that current knowledge of the nature of the virus was evolving, and
13   that these efforts were part of an “ongoing US public health response to identify and contain this
14   outbreak and prevent sustained spread of 2019-nCov in the United States.” 8 CMS directed infection
15   control efforts and clarified CDC guidance to preserve scarce medical resources, including PPE, and
16   maximizing the capacity of the healthcare system to navigate the spread of the pandemic. Further, CMS
17   ordered facilities to restrict visitors, cancel communal activities, screen staff, amend policies regarding
18   interaction with vendors, and handle potential end-of-life interactions with family members, among
19   other interventions. 9 On April 2, 2020, CMS issued new guidelines aimed specifically to long-term care
20   facilities to mitigate the spread of COVID-19, with the stated purpose of ‘critical, needed leadership”
21   and issuing “immediate” actions to “keep patients and residents safe.” 10
22

23
     8
       Centers for Disease Control and Prevention, Update and Interim Guidance on Outbreak of 2019 Novel
24
     Coronavirus (February 1, 2020) (available at https://emergency.cdc.gov/han/HAN00427.asp).
     9
25     Centers for Medicare & Medicaid Services, Guidance for Infection Control and Prevention of
     Coronavirus Disease 2019 (COVID-19) in Nursing Homes (Revised) (March 13, 2020) (available at
26   https://www.cms.gov/files/document/qso/20-14-nh-revised.pdf).
     10
27
        Centers for Medicare & Medicaid Services, COVID-19 Long-Term Care Facility Guidance (April 2,
     2020) (available at https://www.cms.gov/files/document/4220-covid-19-long-term-care-facility-
28   guidance.pdf).



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 1           49.    Specifically, CMS directed long-term care facilities to “immediately” ensure compliance
 2   with “all CMC and CDC guidance related to infection control.” Again, CMS specifically referenced and
 3   referred facilities to updated and revised CDC guidelines. CMS also implemented a number of actions
 4   to be undertaken immediately including 1) universal screening; 2) conservation of PPE; 3) proper PPE
 5   use; and 4) allocation of separate staffing, among other directives. As has been previously stated,
 6   instructions were part of mandatory regulations imposed on long term care facilities by OBRA and
 7   regulations issued by CMS. On April 19, 2020, CMS announced new regulatory requirements requiring
 8   nursing facilities to inform residents, families, and representatives of COVID-19 cases. 11 Nursing
 9   homes were required to report COVID-19 cases and deaths directly to the CDC on an ongoing basis as
10   the result of an unprecedented CMS regulatory requirement issued on May 1, 2020. The Trump
11   Administration implemented the new reporting requirement to develop a robust federal disease
12   surveillance system to quickly identify problem areas and inform future infection control actions. By
13   law, CMS regulates and oversees nursing homes, which are certified to provide Medicare and/or
14   Medicaid skilled nursing facility services. This clearly demonstrates the fact that Defendants were
15   acting at the direction of the federal government and as its agent in responding to COVID-19 response.
16           50.    Defendants, in following these directives, were engaged in an effort to assist, or to help
17   carry out, the duties or tasks of CMS and the CDC in responding to the COVID-19 pandemic.
18   Defendants’ actions and conduct were taken due to unprecedented and “strong government intervention”
19   which went beyond the “mere auspices of federal direction.” Fung v. Abex Corp., 816 F. Supp. 569, 572
20   (N. D. Cal. 1992). CMS was controlling and reimbursing Defendants for actions taken in response to
21   the COVID-19 pandemic and the President’s proclamation declaring a national emergency concerning
22   the novel COVID-19 outbreak on March 13, 2020. Following the national emergency proclamation,
23   rapid action was taken to waive restrictions and expand capacity for healthcare entities, providers, and
24

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26   11
        Centers for Medicare & Medicaid Services, Press Release “Trump Administration Announces New
27
     Nursing Homes COVID-19 Transparency Effort” (April 19, 2020) (available at
     https://www.cms.gov/newsroom/press-releases/trumpadministration-announces-new-nursing-homes-
28   covid-19-transparency-effort).



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 1   suppliers to coordinate a national response to the national emergency. The national response effort
 2   converted Defendants into agents of the United States.
 3          51.     Finally, Defendants satisfy the “nexus” or “causation” requirement for federal officer
 4   jurisdiction as the alleged conduct was undertaken “for or relating to” a federal office. To meet this
 5   requirement, “it is sufficient for there to be a connection or association between the act in question and
 6   the federal office.” In re Commonwealth, 790 F.3d at 471. There is a clear causal nexus between the
 7   claims against Defendants and the actions taken by Defendants in responding to and administering care
 8   related to the COVID-19 outbreak. As described above, the Complaint alleges deficiencies in
 9   Defendants’ actions concerning infection control procedures taken in efforts to prevent the transmission
10   and spread of COVID-19 while preserving resources to enable a nationwide response. The nexus
11   element is thus met by the various orders, guidelines, and recommendations followed by Defendants in
12   addressing same.
13          52.     In addition, Defendants meet the requirement of the existence of a colorable federal
14   defense as it intends to assert that immunity under the PREP Act applies to the present action. For the
15   purposes of removal, the defense must be “colorable” and need not be “clearly sustainable” as the
16   purpose for the removal statute is to secure that the validity of the defense may be tried in federal court.
17   Willingham v. Morgan, 395 U.S. 402, 407 (1969). The Supreme Court explained that “one of the most
18   important reasons for removal is to have the validity of the defense of official immunity tried in a federal
19   court.” Acker, 527 U.S. at 431. For this reason, “we have rejected a narrow, grudging” approach when
20   analyzing whether a defendant had raised a colorable federal defense. Id. Based on the preemption
21   argument alone, Defendants have a colorable defense under the PREP Act, and this element is satisfied.
22          53.     Removal is thus proper under federal officer jurisdiction in addition to federal question
23   jurisdiction under the complete preemption exception and the Grable doctrine.
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 1          WHEREFORE, having shown that this case is properly removable on the basis of federal
 2   question jurisdiction and federal officer jurisdiction, Defendants provide notice pursuant to 28 U.S.C. §
 3   1446 that the Action pending in Superior Court for the County of Los Angeles, California, case no.
 4
     21STCV17868, is removed to the United States District Court for the Central District of California,
 5
     Western Division, and respectfully requests that this Court exercise jurisdiction over this case.
 6

 7
            Respectfully submitted this twenty-eighth day of July, 2021.
 8

 9
                                                                ZARMI LAW
10

11

12                                                        By: /s/ David Zarmi
                                                              8950 W Olympic Blvd., #533
13
                                                              Beverly Hills, CA 90211
14                                                             310-841-6455
                                                              davidzarmi@gmail.com
15                                                            Attorney for Defendants
                                                              Centinela Skilled Nursing & Wellness Centre
16                                                            West, LLC
                                                              Brius Management Co.
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 1                                        CERTIFICATE OF SERVICE
 2          I hereby certify that on this twenty-eighth day of July, 2021, I will electronically file the
 3   foregoing with the Clerk of the Court using the CM/ECF system, which will then be sent Electronically
 4
     to the registered participants as identified on the Notice of Electronic Filing and paper copies will be
 5
     sent by first class mail to any counsel of record indicated as non-registered participants.
 6
     Dated: July 28, 2021                                                       /s/ David Zarmi__________
 7                                                                              Attorney for Defendants
 8
     Attorneys for Plaintiffs:
 9
     THE BARNES FIRM
10
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                                      EXHIBIT A
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Electionically FILED by Sup ·or Court of California, County of Los Angeles on 05/12/2021 11 :05 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez.Deputy Clerk
                                                                                       21STCV17868
                                        Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley




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                         5

                         6 Attorneys for Plaintiffs
                         7                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                         8                        COUNTY OF LOS ANGELES - CENTRAL JUDICIAL DISTRICT

                        g ERIC HOLLOWAY, deceased, by and                                                       Case No.:           21 BTC:V1 7868
                          through his personal legal representative
                       10 and    successor in interest, SHALIMAH                                                COMPLAINT FOR DAMAGES:
                          ABDULLAH;       SHALIMAH      ABDULLAH,
                       11 individually,                                                                         1. Elder Abuse and Neglect
                       12                       Plaintiffs,                                                        (Welf. & Inst. Code, §15600,
                                                                                                                    et seq.)
                       13     V.
                                                                                                                2. Violation of Patient Rights
                       14 CENTINELA      SKILLED    NURSING    &
                          WELLNESS CENTRE WEST, LLC dba                                                           (Health & Safety Code §1430(b))
                       15 CENTINELA      SKILLED     NURSING   &                                                3. Negligence
                          WELLNESS CENTRE WEST, a California
                                                                                                                4. Wrongful Death
                       16 Skilled   Nursing     Facility;  BRIUS
                          MANAGEMENT CO., a California company;
                       17 TAMAR RECHNITZ, an individual; and
                          DOES 1-25, inclusive,
                       18
                                                Defendants,
                       19
                              -and-
                                                                                                            1
                       20 SAIDAH HOLLOWAY, an individual; AKBAR
                       21 ABDULLAH,   an   individual;    RIHEIM
                              HOLLOWAY, an individual;
                       22
                                                 Nominal Defendants.
                       23
                       24                 All allegations set forth in this Complaint are based on information and belief except
                       25
                              those allegations which pertain to Plaintiff(s) herein and their counsel. Each allegation in
                       26

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                                                                                                  COMPLAINT
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 1 this Complaint either has evidentiary support or is likely to have evidentiary support after

 2   reasonable opportunity for further investigation and discovery.

 3                                          THE PARTIES

 4          1.     Plaintiff Decedent ERIC HOLLOWAY ("Decedent ERIC") was born on June

 5 22, 1948 and died on April 19, 2020.

 6          2.     Decedent ERIC was a victim of elder abuse and at all times relevant herein,

 7 an     "elder" or "dependent adult" as defined by Welfare & Institutions Code section

 8   15610.23(b), and had physical limitations restricting his ability to carry out normal activities

 9 and protect his rights as discussed more fully infra.

10          3.     At all times relevant to this action herein, Decedent ERIC was a resident of

11   the State of California, County of Los Angeles.

12          4.     PLAINTIFF SHALIMAH ABDULLAH ("SHALIMAH") is an adult individual, the

13 natural daughter of Decedent ERIC, and she brings the survival claims of Elder Abuse and

14 Neglect and Violation of Patient Rights on behalf of Decedent ERIC in her capacity as his

15 personal legal representative and Successor in Interest.

16          5.     Filed concurrently herewith is SHALIMAH's Declaration pursuant to Code of

17 Civil Procedure § 377 .32.

18          6.     SHALIMAH is the surviving daughter of Decedent ERIC. She brings the

19 Wrongful Death action in her individual capacity as Decedent ERIC's heir.

20          7.     At all times relevant to this action herein, the Skilled Nursing Facility ("SNF")

21   known as the CENTINELA SKILLED NURSING & WELLNESS CENTRE WEST was

22 located at 950 South Flower Street, Inglewood, California 90301 in the county of Los

23 Angeles.
24          B.     Plaintiffs are informed and believe, and based upon information and belief

25 allege, that Defendant CENTINELA SKILLED NURSING & WELLNESS CENTRE WEST,

26 LLC, Defendant BRIUS MANAGEMENT CO., and Defendant TAMAR RECHNITZ, were
27

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                                               COMPLAINT
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 1 doing business as ("dba") CENTINELA SKILLED NURSING & WELLNESS CENTRE
 2 WEST ("Defendant FACILITY").
 3         9.     Plaintiffs are informed and believe, and based upon information and belief
 4 allege, that at all times relevant herein, Defendant CENTINELA SKILLED NURSING &
 5 WELLNESS CENTRE WEST, LLC, Defendant BRIUS MANAGEMENT CO., and
 6 Defendant TAMAR RECHNITZ owned the Defendant FACILITY.
 7         10.    Plaintiffs are informed and believe, and based upon information and belief
 8 allege, that at all times relevant herein, Defendants operated the Defendant FACILITY.
 9         11.    Plaintiffs are informed and believe, and based upon information and belief
10 allege, that at all times relevant herein, Defendant CENTINELA SKILLED NURSING &
11 WELLNESS CENTRE WEST, LLC (hereinafter "CENTINELA (THE LICENSEE)") was the
12 Licensee for the Defendant FACILITY.
13         12.     Plaintiffs are informed and believe, and based upon information and belief
14 allege, that Defendant CENTINELA (THE LICENSEE), was at all times relevant herein, a
15 California limited liability company.
16         13.    Plaintiffs are informed and believe, and based upon information and belief
17 allege, that Defendant BRIUS MANAGEMENT CO., was at all times relevant herein, a
18 California company.
19         14.    Plaintiffs are informed and believe, and based upon information and belief
20 allege, that Defendant TAMAR RECHNTIZ, was at all times relevant herein, a resident of
21 the State of California.
22         15.    Plaintiffs are informed and believe, and based upon information and belief
23 allege, that Defendant CENTINELA (THE LICENSEE)'s principal executive office is located
24 at 950 South Flower Street, Inglewood, California 90301.
25         16.    The Nominal Defendants are Decedent ERIC's heirs who, upon information
26 and belief, have declined participating in the instant action and are named herein for
27
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 1 service purposes only.
 2                                  JURISDICTION AND VENUE
 3         17.    This Court has jurisdiction over the causes of action asserted pursuant to
 4 California Code of Civil Procedure § 410.10.

 5         18.    The acts alleged in this complaint occurred in the County of Los Angeles.
 6         19.    The Defendants, and each of them, have sufficient minimum contacts in
 7 California based on conducting business in California or otherwise intentionally avail
 8 themselves of the California market though their provision of services in the County of
 9   Contra Costa, so as to render them essentially at home in California and making the
10 exercise of jurisdiction by the California courts consistent with traditional notions offair play

11 and substantial justice.
12         20.     Venue is proper in this Court pursuant to California Code of Civil Procedure
13 §§ 395 and 395.5 based on the facts, without limitation, that this Court is a court of

14 competent jurisdiction, that at least one Defendant either resides or does business in the

15 County of Los Angeles, and because the injuries to the persons complained of herein
16 occurred in the County of Los Angeles.

17                                BACKGROUND ALLEGATIONS
18         21.     Plaintiffs are informed and believe, and based upon information and belief
19 allege, that a licensee is responsible for compliance with licensing requirements and the
20 organization, management, operation, and control of the facility. The general duties of a

21   licensee are set forth in Title 22 of the California Code of Regulations, § 72501. Certain
22 duties are non-delegable including the responsibility for compliance with regulations and

23 the management and control of the SNF. Delegation of authority by a licensee shall not

24 diminish the responsibilities of the licensee. Therefore, even where a licensee delegates
25 operational control to another person or entity, that licensee remains directly liable for
26 management, operation, and control of the facility. (Cal. Code Regs., tit. 22, § 72501(a).)

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 1         22.      Plaintiffs are informed and believe, and based upon information and belief
 2 allege, that Defendants dba the Defendant FACILITY were subject to the requirements of
 3 federal and state laws and regulations that govern the operation of a SNF in California. In
 4   connection with its operation of the Defendant FACILITY, Defendants had a substantial
 5 and ongoing caretaking and custodial relationship involving ongoing responsibility for the
 6 basic needs of its residents, including Decedent ERIC.
 7         23.    Plaintiffs are informed and believe, and based upon information and belief
 8 allege, by law, Defendant CENTINELA (THE LICENSEE) of SNFs operating in California
 9   must delegate to a designated administrator, in writing, the authority to organize and carry
10 out the day-to-day functions of the SNF. During Decedent ERIC's admission to the
11   Defendant FACILITY, the Defendant FACILITY had an Administrator, believed to be
12 Mohsen Mobasser, who was responsible for the administration and management of the
13 SNF in accordance with Title 22 of the California Code of Regulations § 72513. The
14 Administrator was a managing agent of Defendant CENTINELA (THE LICENSEE) and had
15 care of custody of Decedent ERIC.
16         24.     Plaintiffs are informed and believe, and based upon information and belief
17 allege, Defendants, and each of them, had the duty to employ an adequate number of
18 qualified personnel to carry out all of the functions of the SNF. (Health & Safety Code§

19 1599.1{a); Cal. Code Regs., tit. 22, § 72501, subd. {e)) Adequate staffing is essential to
20 proper patient care and outcomes. There is no greater predictor of patient outcome in a
21   skilled nursing facility than understaffing. The standard of care codified at 42 U.S.C. §§
22 482.30 and 483.25 is to provide sufficient qualified nursing staff for nursing and related
23 services to attain or maintain the highest practicable physical, mental, and psychosocial
24 well-being of each resident, as determined by resident assessments, and plans of care.
25 Because these requirements are codified in state and federal regulations, everyone
26 involved in nursing home operations, including the owners, operators, managers,
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 1 administrators, and directors of nursing in this case, understands the direct relationship

 2 between quality staff and patient outcomes.

 3         25.    Plaintiffs are informed and believe, and based upon information and belief
 4   allege, in addition to Defendants' duty to have sufficient numbers of well-qualified and
 5 trained staff, Defendants had a duty to ensure that the Defendant FACILITY was operated
 6 in a way that respected and did not violate well-recognized resident rights under California

 7 Code of Regulations, title 22; Health and Safety Code section 1599.1; 42 U.S.C. §§ 1395-
 8 1396; and 42 Code of Federal Regulations part 483.
 9         26.    Plaintiffs are informed and believe, and based upon information and belief
10 allege, the Defendant FACILITY, CENTINELA SKILLED NURSING & WELLNESS

11   CENTRE WEST, LLC, and BRIUS MANAGEMENT CO. were under common ownership
12 and control.

13         27.    Plaintiffs are informed and believe, and based upon information and belief
14   allege, Defendant CENTINELA (THE LICENSEE) and Defendant BRIUS MANAGEMENT
15 CO., and Defendant TAMAR RECHNITZ were responsible for ensuring the Defendant

16 FACILITY was operated in full compliance with federal and state laws and regulations
17 governing operations of a SNF, and for all aspects of the organization, management,
18 operation, and control of the Defendant FACILITY.

19         28.    Plaintiffs are informed and believe, and based upon information and belief
20 allege, Decedent ERIC's injuries arose out of the organization, management, operation
21   and control of the Defendant FACILITY by Defendant CENTINELA (THE LICENSEE),
22 Defendant BRIUS MANAGEMENT CO. and Defendant TAMAR RECHNITZ in their
23 capacity as owner/operator of the Defendant FACILITY.

24         29.    Plaintiffs are informed and believe, and based upon information and belief
25 allege, Defendants, each of them, share a joint responsibility for Decedent ERIC's injuries

26 and death.
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 1         30.    Plaintiffs are informed and believe, and based upon information and belief
 2 allege, that at all times relevant herein, Defendants managed and controlled the Defendant
 3 FACILITY and made critical decisions regarding staffing budget and census, resulting in
 4   nurse staffing which fell below the legal minimum.         Defendant CENTINELA (THE
 5 LICENSEE} and Defendant BRIUS MANAGEMENT CO . and Defendant TAMAR
 6 RECHNITZ benefited financially from the policies and procedures, decisions, control, and
 7   management of the Defendant FACILITY in the form of income and profits received from
 8 the Defendant FACILITY.
 9         31.    Plaintiffs are informed and believe, and based upon information and belief
10 allege, that if Defendant CENTINELA (THE LICENSEE), BRIUS MANAGEMENT CO.,

11 Defendant TAMAR RECHNITZ, and Defendant FACILITY are not treated as a single
12 enterprise or alter-egos of each other, a severe injustice will result. Allowing Defendant
13 CENTINELA (THE LICENSEE), Defendant BRIUS MANAGEMENT CO., and Defendant
14 TAMAR RECHNITZ to avoid legal responsibility for actions taken at the Defendant

15 FACILITY level, which they directed and caused, would be unfair and unjust.
16         32.    Plaintiffs are informed and believe, and based upon information and belief
17 allege, Defendants engaged in elder abuse and other wrongful conduct against Decedent
18 ERIC.
19          32.   The true names and capacities, whether individual, corporate partnership,
20 associate, or otherwise of Defendants named herein as DOES 1-25, inclusive, are
21   unknown to Plaintiff. who therefore sue those Defendants by such fictitious names. Plaintiff
22 will seek leave to amend this complaint to allege the true names and/or capacities and/or
23 involvement of said fictitiously named Defendants when ascertained. Plaintiff is informed
24 and believes, and thereon alleges, that each of the Defendants designated as a DOE is
25 responsible in some manner for the events and happenings herein referred to and thereby
26 legally caused the injuries and damages herein alleged.

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 1          33.    On information and belief, DOES 1 through 10 at all times mentioned herein
 2 owned, operated, managed, supervised, controlled, maintained, or were otherwise
3 responsible for the business activities of Defendant FACILITY. Such DOES would include
4 officers, directors, controlling shareholders, partners, and/or governing board members,
 5 persons in de facto control of healthcare, operators, and/or employees of Defendant
 6 FACILITY. At all times relevant to this action, DOES 1 through 10 helped set and enforce
7 policies and procedures for the services rendered to clients of Defendant FACILITY.
 8          34.    On information and belief, DOES 11 through 15 may be staff or contracted
 9 personnel of Defendant FACILITY, including physicians, licensed nurses, aides, social
10 workers, business office personnel, and/or other clinical, or administrative personnel

11   including, without limitation, persons directly or indirectly responsible for provision of patient
12 care, persons having made representations or warranties to Plaintiffs, and/or persons

13 acting in concert with other Defendants.
14          35.    On information and belief, DOES 16 through 25 include persons directly or
15 indirectly responsible for provision of care to Decedent ERIC, including but not limited to
16 physicians, medical groups, managed care organizations, acute care hospitals, home
17 health agencies, visiting nurses, therapists, and/or other ancillary care providers who saw,
18 examined, evaluated, observed and/or treated or failed to treat Decedent ERIC leading to
19 injury or death and/or persons having made representations or warranties to or from the
20 Department of Social Services, the Department of Public Health, the Long Term Care
21   Ombudsman, Adult Protective Services, Defendant FACILITY, and/or anyone purporting
22 to act on behalf of or in concert with these persons or entities. The identities of such
23 persons or entities are unknown to Plaintiff and Plaintiff will seek leave to amend when
24 those identities are ascertained. Plaintiff is informed and believes, and thereon alleges,
25 that each of the Defendants designated as a DOE is responsible in some manner for the
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 1 events and happenings herein referred to and thereby legally caused the injuries and

 2   damages herein alleged.

 3          36.    Upon information and belief, Plaintiff further alleges that each Defendant and
 4   DOES 1-25 were the agent, servant, employee, joint venturer, and/or partner of each Co-

 s   Defendant, and at all times acted within the course and scope of said agency, employment,

 6 venture, and/or partnership pursuant to the policies, practices, procedures, written or

 7 otherwise, and with the advance knowledge, acquiescence, or subsequent ratification of

 8 each Co-Defendant.

 9          37.    Upon information and belief, Plaintiff further alleges that each Defendant and

10 DOES 1-25 are liable for the acts of each other through principals and/or respondent

11 superior, agency, ostensible agency, partnership, alter-ego and/or other form(s) of

12 vicarious liability. Consequently, each Defendant is jointly and severally liable to Plaintiffs

13 for damages sustained as a proximate result of his, her, or their conduct.

14          38.     Decedent ERIC was admitted to Defendant FACILITY in January of 2020 for

15 short-term care. He required skilled and custodial services to meet his care needs.

16          39.    Decedent ERIC had a history of hypertensive heart disease with heart failure,
17 pneumonia,       chronic   obstructive    pulmonary    disease     with   acute   exacerbation,

18 atherosclerosis of bypass graft of coronary artery of transplanted heart with unstable
19 angina, atrial fibrillation, and muscle weakness generalized. Additionally, he was labeled a

20 fall risk. As a result of his physical and mental condition, he was dependent on others for

21   his activities of daily living including, but not limited to, personal hygiene, transferring in
22 and out of bed, eating, drinking, and managing medication.

23          40.     Defendants failed to properly assess and gather information to make

24 decisions about suitable interventions to avoid individualized health risks. The care plan

25 must set goals to provide benchmarks for evaluating whether the planned care

26 interventions are effective. The staff must assess and reassess the resident to determine
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 1 whether the care plan goals are being met. If the interventions are not working, the care
 2 plan must be modified to include alternative treatment interventions. If the resident has a
 3 change of condition, he or she must be reassessed to determine if the care plan needs to
 4 be modified as a result of the resident's new condition and/or baseline. Care planning is an
 5 ongoing interdisciplinary process that is critical to patient outcomes.
 6         41.     Decedent ERIC had a history of pneumonia, putting him at risk for developing
 7 pneumonia or other respiratory infections/syndrome.
 8         42.     Defendants knew, or should have known, that prevention and care is
 9 especially important among nursing home residents such as Decedent ERIC, who are
10 more susceptible to illness due to their age, and medical conditions.
11         43.     However, Defendant FACILITY failed to provide adequate care to Decedent
12 ERIC and failed to effectively develop, implement, and modify care plans for his
13 individualized care needs.
14         44.     Decedent ERIC was labeled a fall risk. Yet the records documented by
15 Centinela Skilled Nursing & Wellness Centre West reflect that Defendants failed to provide

16 the full assistance he required.

17          45.    During Decedent ERIC's stay at Defendant FACILITY, his daughter video
18 called and voice called him often to check on him.

19          46.    Sometime during the early spring of 2020, Defendant FACILITY no longer
20 allowed visitors in the facility.
21          47.    In or around March of 2020, it was reported that approximately 27 cases of
22 COVID-19 have been confirmed at Defendants' FACILITY.                     Defendant FACILllY
23 employees began to fail to show up for work. Defendant FACILITY failed to provide
24 required care to the facility's residents and placed them in harm's way.
25          50.    On April 17, 2020, Decedent ERIC tested positive for COVID-19.
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 1         51.    On April 19, 2020, Decedent ERIC was transported to Centinela Hospital

 2 after suffering a fall which resulted in a laceration on his face. Upon admission to the

 3 emergency room, Decedent ERIC was found have shortness of breath, acute respiratory
 4 failure, congestive heart failure, sepsis, basilar loss, pneumonia, and bandemia.

 5         52.    Over the next few days, Decedent ERIC's health continued to decline.
 6         53.    Unsurprisingly, Decedent ERIC's health continued to deteriorate. The
 7 hospital administered intubation and medication. However, he could not recover and died

 8 on April 19, 2020.
 9                                  FIRST CAUSE OF ACTION

10                               ELDER ABUSE AND NEGLECT
11
                         [Welfare & Institution Code §§ 15600, et seq.]
12
        (Against Defendants CENTINELA SKILLED NURSING & WELLNESS CENTRE
13     WEST, LLC dba CENTINELA SKILLED NURSING & WELLNESS CENTRE WEST,
              BRIUS MANAGEMENT CO., TAMAR RECHNITZ, and DOES 1-25)
14

15         54.    Plaintiffs hereby incorporates by reference Paragraph 1 through 53 of this

16 Complaint as though fully set forth herein.

17         55.    Decedent ERIC, at all times relevant herein, was over the age of 65 and thus
18 an "elder'' as that term is defined in Welfare and Institutions Code§ 15610.27.

19         56.    Decedent ERIC was not able-bodied and was unable to take care of his own
20 needs during the time he was under the care and custody of Defendants, while a resident

21   of Defendant FACILITY. Decedent ERIC had hypertensive heart disease with heart failure,

22 pneumonia,      chronic   obstructive   pulmonary     disease    with   acute   exacerbation,
23 atherosclerosis of bypass graft of coronary artery of transplanted heart with unstable

24   angina, atrial fibrillation, and muscle weakness generalized. He was, thus, dependent on
25 Defendants' care staff for all his activities of daily living including assistance in dressing,
26 grooming, bathing, toileting, medication management, and feeding.

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 1          57.    Accordingly, Defendants and each of them, had a substantial ongoing

 2 caretaking and custodial relationship with Decedent ERIC, while he was a resident at the
 3 Defendants' FACILITY. Decedent ERIC was dependent on Defendants, and each of them,

 4   for all of his custodial and other care needs.

 5          58.    Each resident of Defendants' FACILITY is an elder and/or dependent adult

 6 as defined by Welfare & Institutions Code sections 15610.23 and 15610.27, respectively.

 7 Defendants knew or should have known that their conduct, as described herein, was

 a   directed to one or more elder and/or dependent adults. Because of his age, condition,

 9   restricted mobility, and disability, Decedent ERIC was substantially more vulnerable to the

10 conduct of Defendants than other members of the public.

11          59.    Defendants had a duty to Decedent ERIC to provide access to care and
12 treatment to prevent the development of wounds, infection/syndrome, pain, malnutrition,

13 and dehydration; to ensure medical care that was needed was actually provided; and to

14 accept and retain only those residents for whom it could provide adequate care,

15 supervision, and assistance. Because Defendant FACILITY accepted and retained

16 Decedent ERIC as a resident, they owed a duty to Decedent ERIC to act reasonably in the

17 discharge of their duties and to not willfully or recklessly ignore Decedent ERIC's medical

18 care needs or cause unnecessary suffering. Without limiting the foregoing, Defendants

19 owed the following duties to Decedent ERIC:

20                 a.     Duty to identify individualized care needs based on assessment of

21                        patient's needs with input from patient and, if necessary, health

22                        professionals involved in the care of the patient (Cal. Code Regs., tit.

23                        22, § 72311(a)(1)(A)); 42 C.F.R. §§ 483.10(f), 483.20(b)(1); 42 U.S.C.
24                        § 1395i-3(b)(3));
25                 b.     Duty to provide care as implemented by individualized written patient
26                        care plan indicating the care to be given, objectives to be
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 1                  accomplished, and the professional discipline responsible for each

2                   element of care (Cal. Code Regs., tit. 22, § 72311(a)(1)(B); 42 C.F.R.

 3                  § 483.10(c));

 4             C.   Duty to review, evaluate, and update patient care plans as necessary

 5                  and more often if there is a change of the patient's condition (Cal.

6                   Code Regs., tit. 22, § 72311(a)(1)(C));

 7             d.   Duty to provide care as implemented by the patient care plan

 8                  according to the methods indicated (Cal. Code Regs., tit. 22, §

 9                  72311 (a)(2); 42 U.S.C. § 1395i-3(b)(4));

10             e.   Duty to provide care        pursuant to physician's orders in the

11                  administration of medication and/or treatment, to provide medication

12                  and treatment as prescribed,         and    prepare   a record   of the

13                   administration of medication and treatment (Cal. Code 17 of Regs., tit.

14                  22, §§ 72313 (a)(1)-(2) and (c));

15             f.    Duty to record nurses' notes that are clear and legible, dated and

16                  signed, among other qualifications, including narratives or how a

17                   patient responds, eats, drinks, looks, feels, and reacts (Cal. Code

18                  Regs., tit. 22, § 72547(a)(5));

19             g,    Duty to provide the resident or responsible party with the opportunity

20                   to participate in an immediate and ongoing basis in the total plan of

21                   care including identification of medical, nursing, and psychosocial

22                   needs and the planning of related services (Cal. Code Regs., tit. 22, §

23                   72527(a)(3); 42 C.F .R. § 483.1 O(c));

24             h.    Duty to provide care in such a manner and in such an environment by

25                   facility staff to be free from mental and physical abuse and neglect

26                   (Cal. Code Regs., tit. 22, § 72527(a)(1 O); 42 C.F.R. § 483.12):

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 1               i.     Duty to provide care in such a manner and in such an environment to
 2                      prevent formation and progression of pressure ulcers including turning
3                       and repositioning; using pressure-reducing devices where indicated;
4                       provide care to maintain clean, dry skin free of feces and urine; and
 5                      carry out physician orders for treatment of ulcers (Cal. Code Regs., tit.
 6                      22, § 72315(f); Health & Sat. Code,§ 1599.1 (b));
 7               j.     Duty to provide adequate personal hygiene, nutrition, and fluids to
 8                      prevent malnutrition, dehydration, and promote wound healing (Cal.
 9                      Code of Regs., tit. 22, §§ 72315(d)(g)(h); Health & Sat. Code, §
10                      1599.1 (b));
11               k.     Duty to provide adequate number of qualified personnel to carry out
12                      all functions of the facility and to meet patients' needs as well as
13                      adequate training and competent supervision (Cal. Code of Regs., tit.
14                      22, §§ 72329 and 72329.1; Health & Sat. Code,§ 1599.1(a); 42 C.F.R.
15                      §§ 483.35, 483.95).
16               I.     Duty to treat residents with consideration, respect, and full recognition
17                      of dignity (Cal. Code Regs., tit. 22, § 72527(a)(12)); and,
18               m.     Duty to notify physician of any change of condition and to note all
19                      attempts to notify physician in patient's health record (Cal. Code
20                      Regs., tit. 22, § 72311(a)(3) and (b)).

21         60.    In addition, and without limiting the generality of the foregoing, Defendants
22 owed the following duties to Decedent ERIC and committed elder neglect by: failing to
23 implement policies and procedures to ensure resident care needs are met; failing to provide
24 training on the policies and procedures to ensure resident care needs are met; failing to

25 ensure physician care is provided; failing to plan a budget whereby staffing levels are
26 adequate; failing to allocate sufficient resources to staff Defendant FACILITY in both
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 1 quantity and quality caregivers; and failing to comply with state and federal laws and

 2 regulations pertaining to SNFs.

 3         61.    Defendants conduct further constitutes neglect as that term is defined in

 4 Welfare and Institutions Code § 15610.57 to include "the negligent failure of any person

 5 having the care or custody of an elder or a dependent adult to exercise that degree of care

 6 that a reasonable person in a like position would exercise, including but not limited to:

 7                a. Failure to assist in personal hygiene, or in the provision of food, clothing,

 8                    or shelter.

 9                b. Failure to provide medical care for physical and mental health needs;

10                c. Failure to protect from health and safety hazards;

11                d. Failure to prevent malnutrition or dehydration.

12         62.    Pursuant to California law, Defendants are required to provide an elder, such

13   s Decedent ERIC, "basic services" including, a duty to continually assess Decedent ERIC's

14   ondition, a duty to note changes in Decedent ERIC's condition, and a duty to immediately

15   otify Decedent ERIC's physician and family of changes. Defendants similarly had a duty

16 o create and update adequate plans of care, and to receive, note, and follow physicians'

17   rders. Defendants had a duty to treat Decedent ERIC with dignity and respect, and to

18   rovide adequate numbers of nursing and other similar staff to assist him. Defendants had

19   duty to employ adequately trained staff. Yet Defendants failed to provide medical care

20   nd custodial care sufficient to meet Decedent ERIC's physical and mental health needs

21   nd failed to protect her from health and safety hazards, as described in detail herein.

22         63.    Defendants, knew that Decedent ERIC was an elder who required assistance

23 o meet his basic needs, yet failed to provide for those needs, even with knowledge of

24    cedent ERIC's high risk for injury, his dependence on Defendants, and the substantial

25    rtainty that Decedent ERIC would be injured if these needs were not provided for.

26    fendants' failure to provide Decedent ERIC with the care, assistance, and monitoring that
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 1   e required caused him harm.

 2         64.    Defendants denied and withheld basic care to Decedent ERIC despite the

 3 nowledge that by doing so, injury was substantially certain to befall him or with conscious

 4   isregard of the high probability of such injury. Defendants' denial and withholding of basic
 5 are to Decedent ERIC caused him injuries, needless suffering, and emotional distress.

 6   urthermore, Defendants withheld medical care by failing to assess and reassess Decedent

 7   RIC's condition, update individualized care plan(s), and monitor his condition to see

 8    ether he was improving, or worsening.

 9         65.     Defendants failed to provide Decedent ERIC with the care and treatment he

10   eeded, failed to ensure adequate nutritional and fluid intake, promote and maintain

11   ersonal hygiene, and monitor and manage his pain levels. Defendants failed to monitor,

12   ssess, and reassess Decedent ERIC's deteriorating condition and to report his changes of

13   ondition to his physician and/or family to arrange for a higher level of care. Thus, there was

14 epeated withholding of care when Defendants failed to implement care plans with adequate

15   onitoring of his intake and output.

16         66.    Defendants failed to meet Decedent ERIC's need for care and basic services,
17 o avoid needless suffering, injury, and emotional distress, by making a conscious choice to

18   nderstaff the nursing home, in both quantity and quality of nursing personnel. The decision

19 o understaffwas made at the corporate level by Defendant CENTINELA (THE LICENSEE),

20   efendant BRIUS MANAGEMENT CO., and Defendant TAMAR RECHNITZ, to increase

21 he profitability of the nursing home, in conscious disregard of patient care needs.

22   efendants, together with its directors, officers, and managing agents including the

23   dministrator, Director of Nursing, and Medical Director, conceived of and implemented a

24   Ian to increase business profits at the expense of residents like Decedent ERIC and other

25   efendant FACIUTY residents. Integral to this plan was the practice and pattern of

26   efendants' staffing its facilities with an insufficient number of care personnel, many of
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 1    om were not properly trained nor qualified to care for the elders whose lives were

 2   ntrusted to them. The understaffing and lack of training was designed to reduce labor costs

 3   nd to increase profits and resulted in high staff turnover and the physical abuse and neglect

 4   f many residents of the facilities and most specifically, Decedent ERIC. This corporate

 5    licy to not maintain sufficient staffing, as required by law, was developed and

 6 mplemented with the conscious disregard for the likelihood of physical harm and injury to

 7 hose who it is in the business to protect, including Decedent ERIC, who did in fact suffer

 8   s a direct consequence of the Defendants' proprietary interests, which it placed above that

 9   f Decedent ERIC, and other residents/patients.

10         67.    Defendants had a duty to employ adequate numbers of sufficiently staffed

11   mployees to provide minimum services and oversight of residents, policies and procedures

12 a ensure that basic services and oversight are implemented to assure the health and safety

13   f residents, employment and training of staff such that staff is experienced and competent

14 o perform the job duties necessary to assure safety and oversight of residents, accepting,

15 raining, and employing staff in a manner that avoids "a revolving door" of crucial managerial

16   mployees such that there is little or no continuity and/or an absence of crucial managerial
17    ployees at critical times, such as the initial admission of a resident to the FACILITY.

18         68.    Defendants knew or should have known that by understaffing their facilities,

19 n quantity and quality, they were putting Defendant FACILITY residents, including

20   ecedent ERIC, at risk for known, harmful, life threatening conditions, including dehydration

21   nd death. This is because Defendants, and each of them, including the owners, operators,

22   dministrators, and directors of nursing understand the direct relationship between staffing

23   nd patient outcomes. The higher the staffing ratio, the better the patient outcome.

24         69.    Defendants, and each of them, knew or should have known that Defendant

25   ACILITY's operation was designed and operated in a manner to circumvent its legal duty

26 o comply with applicable statutes and regulations to maximize profitability. That knowledge
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 1   as exclusively in the possession of the Defendants. Decedent ERIC and his family had no

 2   uch knowledge, nor the opportunity to obtain such knowledge and information. Decedent

 3   RIC and his family believed that Defendants' business operations were, as represented

 4   y the Defendants, properly run in compliance with the law and that the care afforded to its

 5 esidents was within all State guidelines. They understood that the management and staff

 6   t Defendant FACILITY were "experts" and were readily familiar, capable, able, and

 7   ommitted to the care and oversight of residents such as Decedent ERIC. Such

 8 epresentations were fraudulent.        Further, Defendants' conduct was reckless and in

 9 onscious disregard of Decedent ERIC's rights and safety.

10         70.     Defendants convinced Decedent ERIC and his family they were able to meet

11   her care needs. Defendants knew those promises and assurances were untrue.

12 Defendants knew the Defendant FACILITY was rated poorly and was in fact a failing facility

13 providing poor care when they made those statements. Defendants knew the Defendant

14 FACILITY was not properly staffed, was not providing proper care, and would not provide

15 proper care to Decedent ERIC. The purpose of their promises and assurances was to

16 induce Decedent ERIC to select Defendant FACILITY purely for financial gain. Their

17 statements were false and were part of Defendants' business model of making fraudulent

18 representations to elderly and dependent persons like Decedent OLGA This constitutes

19   unfair business practices directed at the elderly.

20          71.    This continual pattern of withholding care and understaffing at Defendant's

21   FACILITY was well known to the Defendants and their officers, directors, and managing

22 agents, Administrator, Director of Nursing, and Medical Director. Upon information and

23   belief, Defendant FACILITY's Administrator, Director of Nursing, and Medical Director

24 routinely reported up the chain of command to corporate managing agents about what was

25 happening on the floor at the nursing home.            Upon information and belief, Defendant

26 FACILITY's Administrator, Director of Nursing, and Medical Director also routinely reported
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 1 admission, discharge and staffing data, and Defendants directed and controlled the staffing

 2 budget by allocating resources, setting staffing minimums and maximums, and directing

 3 staff to patient ratios. By law, Defendants were responsible for setting policies and
4    procedures to be implemented in the Defendant FACILITY and provide supervision and

5 oversight of administration and nursing services by and through managers and directors.
 6         72.     These corporate managing agents had a duty to direct the nurses and staff
7 yet did not make the necessary changes at Defendant FACILITY, even with knowledge of
 8 substandard care, failures to assess, monitor, and respond to changes in resident

 9 condition, inadequate custodial care, inadequate hygiene, and inadequate safety
10 measures at the facility. The managing agents of each Defendant knew or should have

11   known of the lack of proper custodial care to its patients, as well as its understaffing, poor
12 training, and the failure to implement care plans based on internal reporting and also the

13 oversight, monitoring, and reporting of the Department of Public Health. Any and all

14 findings of the Department of Public Health regarding care failures at Defendant FACILITY
15 were reported up the corporate chain. Despite each Defendant's conscious knowledge of

16 these conditions, the managing agents of each Defendant did not take appropriate and

17 adequate steps to prevent and correct them, and they did not inform Decedent ERIC or his
18 family of what they knew about these dangerous conditions.

19          73.    Defendants, and their officers, directors and managing agents of the
20 Defendants' FACILITY, including the Administrator, Director of Nursing, and Medical
21   Director, knew or should have known that the Defendants' FACILITY's operation was
22 designed in a manner so as to maximize profitability by circumventing the legal duty to
23 assure the health, safety, and oversight of residents such as Decedent ERIC and, in
24 particular, the duty to hire competent employees, to train those employees and to terminate
25 or discipline employees for misconduct towards the residents, including Decedent ERIC.
26 As a result, Defendants' and their officers, directors, and managing agents, including the
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 1 Administrator, Director of Nursing, and Medical Director, had knowledge of, ratified and/or

 2 otherwise authorized all of the acts or omissions, which caused the injuries to Decedent

 3 ERIC.
4          7 4.   LVNs are per se "unfit" to perform the functions of an RN, just as an RN is
 5 per se "unfit" to perform the functions of a medical doctor. Here, Defendants authorized

 6 and ratified the use of LVNs to perform assessments that they were not licensed or qualified
 7 to perform. As a direct and proximate result of using unfit LVNs to perform assessments,

 B the LVN-based assessments and care plans done for Decedent ERIC were incomplete

 9 and inadequate and resulted in Decedent ERIC not getting the interventions he needed to

10   prevent him becoming dehydrated, malnourished, developing infection, and dying.

11         75.    As a proximate result of the abuse and neglect of Decedent ERIC by
12 Defendant LVNs, and each of them, Decedent OLGA died on April 19, 2020.

13         76.    As a proximate result of the abuse and neglect of Decedent ERIC by
14 Defendants and each of them, he was caused to incur medical expenses and other related

15 expenses, all to his special damages in a sum to be established.
16         77.    As a proximate result of the abuse and neglect of Decedent ERIC by

17 Defendants, and each of them, he suffered fear, anxiety, humiliation, physical pain and
18 discomfort, and emotional distress, all to his general damages in a sum to be established.
19         78.    By the conduct, acts and omissions of Defendants, and each of them, as
20 alleged above, they are guilty of recklessness, fraud, oppression, and/or malice. The
21   specific facts set forth above show a disregard of the high probability that Decedent ERIC
22 would be injured. In addition to special damages, Plaintiff is therefore entitled to an award

23 of the reasonable attorney's fees and costs incurred in prosecuting this case as well as

24 Decedent ERIC's pain and suffering and punitive damages pursuant to Welfare &
25 Institutions Code§ 15657 and Civil Code§ 3294.
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                                   SECOND CAUSE OF ACTION

 2                                VIOLATION OF PATIENT RIGHTS

3                                 [Health & Safety Code§ 1430(b)]

4    (Against Defendants CENTINELA SKILLED NURSING & WELLNESS CENTRE
   WEST, LLC dba CENTINELA SKILLED NURSING & WELLNESS CENTRE WEST and
 5                                DOES 1-25)
 6
            79.    Plaintiff incorporates by reference Paragraphs 1 through 78 of this Complaint
 7
     as though fully set forth.
 8
             80.   The acts and omissions of Defendants alleged above constitute violations of
 9
     patients' rights within the meaning of Health and Safety Code§ 1430(b). This statute allows
10
     a current or former resident to pursue damages, attorney's fees, and an injunction for
11
     violations of patients' rights set forth in Title 22 of the California Code of Regulations §
12
     72527 and other state and federal laws and regulations.
13
            81.    Here, Defendants' conduct as described in the foregoing sections violated
14
     several of Decedent ERIC's statutory rights, including but not limited to:
15
                   a. Right to be treated with consideration, respect, and full recognition of
16
                       dignity (Cal. Code Regs., tit. 22, § 72527(a)(12));
17
                   b. Right to have individualized individual care needs identified based on
18
                       assessment of patient's needs with input from patient and, if necessary,
19
                       health professionals involved in the care of the patient (Cal. Code Regs.,
20
                       tit. 22, § 72311(a}(1)(A}}; 42 C.F.R. §§ 19   483.10(f}, 483.20{b)(1); 42
21
                       U.S.C. § 1395i-3(b)(3));
22
                    c. Right to receive care as implemented by individualized written patient
23
                       care plan indicating the care to be given, objectives to be accomplished,
24
                       and the professional discipline responsible for each element of care (Cal.
25
                       Code Regs., tit. 22, § 72311(a)(1)(B); 42 C.F.R. § 483.10(c));
26
                    d. Right to have patient care plans reviewed, evaluated, and updated as
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 1                  necessary and more often if there is a change of the patient's condition

 2                  (Cal. Code Regs., tit. 22, § 26 72311 (a}(1 )(C));

 3             e. Right to receive care as implemented by the patient care plan according
 4                  to the methods indicated (Cal. Code Regs., tit. 22, § 72311 (a)(2); 42

 5                  U.S.C. § 1395i-3(b)(4));

 6             f.   Right to receive care pursuant to physician's orders in the administration

 7                  of medication and/or treatment, to have medication and treatment as

 8                  prescribed, and for a record of the administration of medication and

 9                  treatment prepared (Cal. Code of Regs., tit. 22, §§ 72313 (a)(1 )-(2) and

10                  (c));

11             g. Right to have a record of nurses' notes that are clear and legible, dated

12                  and signed, among other qualifications, including narratives or how a

13                  patient responds, eats, drinks, looks, feels, and reacts (Cal. Code Regs.,

14                  tit. 22, § 72547(a)(5));

15             h. Right for the resident or responsible party to have the opportunity to

16                  participate in an immediate and ongoing basis in the total plan of care

17                  including identification of medical, nursing, and psychosocial needs and

18                  the planning of related services (Cal. Code Regs., tit. 11 22,            §

19                  72527(a)(3); 42 C.F.R. § 483.10(c));

20             i.   Right to have physician notified of any change of condition and to have

21                  all attempts to notify physician noted in patient's health record (Cal. Code

22                  Regs., tit. 22, § 72311 (a)(3) and (b));

23             j.   Right to receive pharmaceutical and physical therapy services for

24                  effective pain management (Cal. Code Regs., tit. 22, §§ 72355,

25                  72403(b)(3));

26             k. Right to receive care in such a manner and in such an environment by

27
28
                                               COMPLAINT
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 1                      facility staff to befree from mental and physical abuse and neglect (Cal.
 2                      Code Regs., tit. 22, § 72527(a)(10); 42 C.F.R. § 483.12);
 3                 I.   Duty to provide adequate number of qualified personnel to carry out all
4                       functions of the facility and to meet patients' needs as well as adequate
 5                      training and competent supervision (Cal. Code of Regs., tit. 22, §§ 72329
 6                      and 72329.1; Health & Saf. Code,§ 1599.1(a); 42 C.F.R. §§ 483.35,
 7                      483.95).
 8          82.    Defendants violated the above-referenced patient's rights when they failed to
 9 provide appropriate services to prevent serious injury to Decedent OLGA.
10          83.    Plaintiff is entitled to attorney's fees and costs and an injunction to prevent
11 further violations, in addition to other remedies set forth in Health and Safety Code section
12 1430(b).

13                                   THIRD CAUSE OF ACTION
14                                          NEGLIGENCE

15      (Against Defendants CENTINELA SKILLED NURSING & WELLNESS CENTRE
       WEST, LLC dba CENTINELA SKILLED NURSING & WELLNESS CENTRE WEST,
16
              BRIUS MANAGEMENT CO., TAMAR RECHNITZ, and DOES 1-25)
17
            84.    Plaintiff incorporates by reference Paragraphs 1 through 83 of this Complaint
18
     as though fully set forth.
19
            85.    At all times herein mentioned, Defendants had a duty to exercise reasonable
20
     and ordinary care in providing custodial care services to Decedent ERIC and/or in providing
21
     health care services to Decedent ERIC.
22
            86.    At the above-mentioned times and place, Defendants, by their respective
23
     acts or omissions, were careless and breached their respective aforementioned duty owed
24
     to Decedent ERIC by: negligently and carelessly failing to exercise reasonable and
25
     ordinary care to provide custodial care services to Decedent ERIC; negligently and
26
     carelessly failing to exercise reasonable and ordinary care to provide health care services
27

28
                                               COMPLAINT
Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 43 of 62 Page ID #:43




1 to Decedent ERlC; negligently and carelessly failing to adequately supervise and/or
2 monitor Decedent ERIC; negligently and carelessly failing to hire, train and supervise;
3 negligently and carelessly failing to exercise reasonable and ordinary care to provide
4 custodial care services to Decedent ERIC; negligently and carelessly failing to be
 5 adequately staffed to appropriately care for and treat Decedent ERIC; negligently and
6 carelessly failing to implement appropriate measure and interventions to ensure that
 7 Defendant FACILITY, as a SNF, was adequately staffed to appropriately care for and treat

 8 Decedent ERIC; negligently and carelessly failing to take appropriate measures to prevent
9 injury to Decedent ERIC; negligently and carelessly failing to adequately assess the care
1O needs of Decedent ERIC; negligently and carelessly failing to adequately implement
11 appropriate interventions to address the care needs of Decedent ERIC; negligently and
12 carelessly failing to have appropriate policies and procedures in place and for failing to
13 follow appropriate policies and procedures; and/or negligently and carelessly failing to
14 otherwise care for and treat Decedent ERIC consistent with the standard of care, which
15 upon information and belief, will be disclosed through discovery in the course of this
16 litigation.
17          87.    As a direct and proximate result of these tortious acts, omissions, and/or
18 conduct of Defendants, Plaintiff was damaged, injured, and harmed, all of which have
19 caused Decedent ERIC great mental, physical and emotional distress, pain and suffering,
20 all to Plaintiffs' damage in a sum to be determined according to proof at the time of trial.
21                                 FOURTH CAUSE OF ACTION

22                                     WRONGFUL DEATH

23      (Against Defendants CENTINELA SKILLED NURSING & WELLNESS CENTRE
       WEST, LLC dba CENTINELA SKILLED NURSING & WELLNESS CENTRE WEST,
24            BRIUS MANAGEMENT CO., TAMAR RECHNITZ, and DOES 1-25)
25
            88.    Plaintiff incorporates by reference Paragraphs 1 through 87 of this Complaint
26
     as though fully set forth.
27

28
                                              COMPLAINT
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 1         89.    Plaintiff SHALIMAH is the surviving heir and natural daughter of Decedent
 2 ERIC.
 3         90.    As a proximate result of the conduct alleged above, perpetrated by
 4 Defendants, Decedent ERIC died on April 19, 2020.
 5         91.    Prior to the death of Decedent ERIC, Plaintiff SHALIMAH enjoyed the love,
 6 society, comfort, and attention of her father.
 7         92.    As a proximate result of the wrongful act of Defendants, as alleged herein,
 8 which caused the death of Decedent ERIC, Plaintiff SHALi MAH sustained pecuniary loss
 9 of the love, comfort, companionship, solace, society, training, guidance, and attention of
10 Decedent ERIC, in a sum according to proof at trial.
11                                RELIEF REQUESTED / PRAYER
12         1.     On the First Cause of Action:
13                a. For compensatory damages in an amount in excess of the minimum
14                     jurisdiction of this court to be ascertained at the time of trial; and
15                b.   For special damages including past hospital, medical, professional, and
16                     incidental expenses, according to proof; and
17                c. For interest on any compensatory damages;
18                d. For attorney's fees and costs pursuant to Welfare & Institutions Code§
19                     15657 and according to proof; and
20                e. For punitive and/or exemplary damages pursuant to Welfare & Institutions
21                     Code § 15657 and Civil Code § 3294; and
22                f.   For treble damages pursuant to Civil Code§ 3345;
23         2.     On the Second Cause of Action:
24                a. For statutory damages according to proof pursuant to Health & Safety
25                     Code section 1430(b); and
26                b. For attorney's fees and costs pursuant to Health & Safety Code section
27
     - - - - - - - - - - - - - - - - =2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
28
                                                COMPLAINT
     ...
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 1                 1430{b};
 2         3.   On the Third and Fourth Causes of Action:
 3              a. For compensatory damages in an amount in excess of the minimum
 4                 jurisdiction of this court to be ascertained at the time of trial; and
 5              b. For special damages including funeral and burial expenses, medical and
 6                 incidental expenses according to proof; and
 7              c. For interest on any compensatory damages;
 8         4.   On all counts
 9              a. For costs of suit; and
10              b. Whatever further relief the court may find just and proper.
11

12 DATED: May 11, 2021                      THE BARNES FIRM, LC

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14

15                                          By:
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                                             COMPLAINT
 Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 46 of 62 Page ID #:46




 1

 2                               DEMAND FOR JURY TRIAL
 3

 4       Plaintiff hereby demands a trial by jury.
 5

 6 DATED: May 11, 2021                    THE BARNES FIRM, LC
 7

 8

 9                                        By:
10                                              Christian R. Oliver
                                                Attorneys for Plaintiffs
11
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                                            COMPLAINT
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                          EXHIBIT B
       .~SEl<YICe_r.          Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 48 of 62 Page ID #:48
    ~.::,~·            "'fr
(         ~                    DEPARTMENTOFIIEALTH&HUMANSERVICES                                            Office of the Secretary



     ~~tr                                                                                                   The General Counsel
                                                                                                            Washington, D.C. 20201




                                                                  August 14, 2020



                        Thomas Barker
                        Foley Hoag LLP
                        1717 K Street, N.W.
                        Washington, DC 20006-5350
                                          ,,..-:--
                       D~                    /   ~
                       Thank you for your July 20, 2020 letter seeking confirmation that senior living comm.unities are "cov-
                       ered persons" under the Public Readiness and Emergency Preparedness Act, 42 U.S.C. § 247d-6d,
                       (the PREP Act) when performing certain functions during this declared emergency.

                       For the reasons set forth below, we conclude that senior living comm.unities are "covered persons"
                       under the PREP Act when they provide a facility to administer or use a covered countermeasure in
                       accordance with the Secretary's March 10, 2020 Declaration under the PREP Act. See 85 Fed. Reg.
                       15,198 (March 17, 2020) (Declaration). 1

                       Under the PREP Act and the Declaration, "covered persons," when used with respect to the admin-
                       istration or use of a covered countermeasure, "include manufacturers, distributors, program planners,
                       and qualified persons, and their officials, agents, and employees." Id. at 151,199; see also 42 U.S.C.
                       § 247d-6d(i)(2). The statute defines "program planner" as a

                                      State or local government, including an Indian tribe, a person em-
                                      ployed by the State or local government, or other person who super-
                                      vised or administered a program with respect to the administration,
                                      dispensing, distribution, provision, or use of a security countermeasure
                                      or a qualified pandemic or epidemic product, including a person who
                                      has established requirements, provided policy guidance, or supplied
                                      technical or scientific advice or assistance or provides a facility to ad-
                                      minister or use a covered countermeasure in accordance with a decla-
                                      ration under subsection (6).

                   42 U.S.C. § 247d-6d(i)(6).




                   1
                    This letter addresses only whether senior living comm.unities can be "covered persons." To receive
                   PREP Act immunity, the covered person must satisfy other requirements of the PREP Act and the
                   Secretary's declaration under the Act.
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    Thomas Barker
    August 14, 2020
    Page2


 The Declaration incorporates this definition, and its preamble explains that a program planner can be
 a "private sector employer or community group" that "carries out the described activities." 85 Fed.
 Reg. at 15,201. Thus, a senior living community meets the definition of a "program planner" to the
 extent that it supervises or administers a program with respect to the administration, dispensing, dis-
 tribution, provision, or use of a security countermeasure or a qualified pandemic or epidemic product,
 including by "provid[ing] a facility to administer or use a Covered Countermeasure in accordance
 with" the Declaration.


 This letter sets forth the current views of the Office of the General Counsel. 2 It is not a final agency
 action or a final order. Nor does it bind HHS or the federal courts. It does not have the force or
 effect oflaw.3




2
  See Air Brake -D,,s., Inc. v. Mineta, 357 F.3d 632, 647-48 (6th Cir. 2004) (holding that the Chief Counsel
of the National Highway Traffic Safety Administration had delegated authority to issue advisory opin-
ions to regulated entities in fulfillment of a congressional directive to promote regulatory compliance);
5 U.S.C. § 301 ("The head of an executive department ... may prescribe regulations for the govern-
ment of his department, the conduct of its employees, [and] the distribution and performance of its
business[.]").
3
  It is possible that a senior living community could also be a "qualified person." Under the PREP
Act, "qualified person" includes a "person within a category of persons so identified in" a PREP Act
declaration. 42 U.S.C. § 247d-6d(i)(8). The Declaration defined "qualified person" to include "[a]ny
person authorized in accordance with the public health and medical emergency response of the Au-
thority Having Jurisdiction ... to prescribe, administer, deliver, distribute or dispense the Covered
Countermeasures, and their officials, agents, employees, contractors, and volunteers." 85 Fed. Reg.
at 15,201-15,202. To the extent a senior living community were so authorized, it could be a qualified
person.
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                          EXHIBIT C
                Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 51 of 62 Page ID #:51



                    DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                  Guidance
                                                                                                               Office of the Secretary
                   _____________________________________________________________________________________________________________________

                                                                                          Office of the Assistant Secretary for Health
                                                                                                              Washington, D.C. 20201
         U.S. Department of Health & Human Services
         Office of the Assistant Secretary for Health
         August 31, 2020

          Guidance for PREP Act Coverage for COVID-19 Screening Tests at Nursing Homes, Assisted-
                 Living Facilities, Long-Term-Care Facilities, and other Congregate Facilities

         On January 31, 2020, the Secretary of Health and Human Services declared that the 2019 novel
         coronavirus (COVID-19) is a public-health emergency for the United States. 1 The United States
         Department of Health and Human Services (HHS) is the lead agency for the federal government’s
         response to the COVID-19 pandemic.

         A key component of that response is rapidly expanding COVID-19 testing across America. Within
         HHS, the Office of the Assistant Secretary for Health leads federal efforts to support that expansion.
         Enhancing the safety of nursing homes, assisted-living facilities, long-term-care facilities, and other
         facilities where people congregate to receive care or education or to work (collectively, “congregate
         facilities”) is critical for our Nation’s response to the COVID-19 pandemic. Testing for COVID-19,
         including those who are asymptomatic, is a key part of that effort. 2



1
    The Secretary’s declaration of a public health emergency was retroactively effective on January 27, 2020.
2
  See, e.g., Interim SARS-CoV-2 Testing Guidelines for Nursing Home Residents and Healthcare Personnel,
available at https://www.cdc.gov/coronavirus/2019-ncov/hcp/nursing-homes-testing.html (last visited Aug.
29, 2020) (explaining that, in addition to nursing homes, “testing residents with signs or symptoms of
COVID-19 and testing asymptomatic close contacts should also be applied to other long-term care facilities
(e.g., assisted living facilities, intermediate care facilities for individuals with intellectual disabilities,
institutions for mental disease, and psychiatric residential treatment facilities)”); Testing in Institutions of
Higher Education, available at https://www.cdc.gov/coronavirus/2019-ncov/community/colleges-
universities/ihe-testing.html (last visited Aug. 29, 2020) (“In areas with moderate to substantial community
transmission where resources allow, local health officials and [institutions of higher learning] may consider
testing some or all asymptomatic students, faculty, and staff who have no known exposure (e.g., students in
congregate housing such as residence halls) to identify outbreaks and inform control measures.”); Testing
asymptomatic individuals without known or suspected exposure to SARS-CoV-2 for early identification in
special settings, available at https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/testing-
non-healthcare-workplaces.html#testing-3 (last visited Aug. 29, 2020) (“Viral testing of workers without
symptoms may be useful to detect COVID-19 early and stop transmission quickly, particularly in areas with
moderate to substantial community transmission.”).



_____________________________________________________________________________________
                                    U.S. Public Health Service
      Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 52 of 62 Page ID #:52
Both the Food and Drug Administration (FDA) and the Centers for Medicare & Medicaid Services
(CMS) have issued guidance and provided other information regarding screening asymptomatic
individuals, including in congregate settings.


According to FDA,

       For health care providers who are ordering an authorized SARS-CoV-2 diagnostic test to be
       used off-label (outside the authorization) to screen asymptomatic individuals not suspected of
       having COVID-19, we recommend they consider the information below. Although the current
       available literature suggests that symptomatic individuals with COVID-19 and asymptomatic
       individuals without known exposure may have similar levels of viral genetic material, there is
       limited data on the distribution of viral loads in individuals with and without symptoms across
       demographics, different settings, and specimen types. Therefore, when screening
       asymptomatic individuals, health care providers should consider using a highly sensitive test,
       especially if rapid turnaround times are available. If highly sensitive tests are not feasible, or
       if turnaround times are prolonged, health care providers may consider use of less sensitive
       point-of-care tests, even if they are not specifically authorized for this indication (commonly
       referred to as “off-label”). For congregate care settings, like nursing homes or similar settings,
       repeated use of rapid point-of-care testing may be superior for overall infection control
       compared to less frequent, highly sensitive tests with prolonged turnaround times. 3

CMS has concluded that

       [it] requires facilities with a CLIA Certificate of Waiver to follow the manufacturer’s
       instructions (Instructions For Use) when performing laboratory testing. The FDA has granted
       Emergency Use Authorizations (EUA) to certain antigen tests for testing specimens from
       individuals who are suspected of COVID-19 by their healthcare provider within a number of
       days after the onset of symptoms, specific to each authorized test’s validated performance.
       The FDA has provided recommendations for health care providers who are ordering
       authorized tests outside their authorization (e.g., antigen tests for asymptomatic individuals)—
       see FDA’s FAQ on Testing for SARS-CoV-2 (“Q: Does the FDA have recommendations for
       health care providers using SARS-CoV-2 diagnostic tests for screening asymptomatic
       individuals for COVID-19?”) for further information.

       CMS will temporarily exercise enforcement discretion for the duration of the COVID-19
       public health emergency under CLIA for the use of SARS-CoV-2 POC antigen tests on
       asymptomatic individuals. Specifically, CMS will not cite facilities with a CLIA Certificate of
       Waiver when SARS-CoV-2 POC antigen tests are performed on asymptomatic individuals, as
       described in the FDA FAQ. 4

Therefore, as an Authority Having Jurisdiction under the Secretary’s March 10, 2020 declaration
under the Public Readiness and Emergency Preparedness Act (PREP Act), 5 Assistant Secretary for

3
  General FAQs, Q: Does the FDA have recommendations for health care providers using SARS-
CoV-2 diagnostic tests for screening asymptomatic individuals for COVID-19?, available at
https://www.fda.gov/medical-devices/coronavirus-covid-19-and-medical-devices/faqs-testing-sars-
cov-2#general, (last visited Aug. 29, 2020).
4
  What is CMS’s policy regarding laboratories performing antigen tests authorized by the Food and
Drug Administration (FDA) under an Emergency Use Authorization (EUA) for use at the point of
care (POC) or in patient care settings operating under a Clinical Laboratory Improvement
Amendments of 1988 (CLIA) Certificate of Waiver on asymptomatic individuals?, available at
https://www.cms.gov/files/document/clia-poc-ag-test-enforcement-discretion.pdf (last visited Aug.
29, 2020).
5
  Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
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Health, Admiral Brett P. Giroir, M.D., extends coverage under the PREP Act to licensed health-care
practitioners prescribing or administering point-of-care COVID-19 tests, using anterior nares
specimen collection or self-collection, for screening in congregate facilities across the Nation. Such
tests must be authorized, approved, or cleared by the FDA (collectively, FDA-authorized COVID-19
tests).

PREP Act coverage encompasses licensed health-care practitioners prescribing or administering FDA-
authorized COVID-19 tests, including for off-label (outside the authorization) use to screen
asymptomatic individuals in congregate facilities. 6

In addition to the requirements set forth herein, licensed health-care practitioners must comply with the
requirements of the PREP Act and the conditions of the Secretary’s declaration under the PREP Act in
order to receive PREP Act coverage. 7

This PREP Act coverage preempts any State or local provision of law or legal requirement that prohibits
or effectively prohibits such licensed health-care practitioners from administering or prescribing FDA-
authorized COVID-19 tests to symptomatic or asymptomatic individuals at congregate facilities. 8




Countermeasures Against COVID–19, 85 Fed. Reg. 15,198 (Mar. 17, 2020).
6
  FDA determines the scope of on-label authorization.
7
  See, e.g., Advisory Opinion on the Public Readiness and Emergency Preparedness Act and the
Secretary’s Declaration under the Act, available at https://www.hhs.gov/sites/default/files/prep-act-
advisory-opinion-hhs-ogc.pdf (last visited Aug. 29, 2020).
8
  See, e.g., Advisory Opinion 20-02 on the Public Readiness and Emergency Preparedness Act and the
Secretary’s Declaration under the Act, available at https://www.hhs.gov/sites/default/files/advisory-
opinion-20-02-hhs-ogc-prep-act.pdf (last visited Aug. 29, 2020).
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                          EXHIBIT D
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    DEPARTMENT OF HEALTH & HUMAN SERVICES                                                                     Office of the Secretary
    _____________________________________________________________________________________________________________________________________
                                                                                                              The General Counsel
                                                                                                              Washington, D.C. 20201

                         ADVISORY OPINION 21-01 ON THE
              PUBLIC READINESS AND EMERGENCY PREPAREDNESS ACT
                        SCOPE OF PREEMPTION PROVISION
                                JANUARY 8, 2021

         Following the issuance by the Secretary on December 3, 2020, of the Fourth Amendment
to his Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
Countermeasures Against COVID-19, we have received questions as to whether the PREP Act
applies where a covered person declined to use a covered countermeasure when it arguably ought
to have been used. 1 See 85 Fed. Reg. 79,190 (Dec. 9, 2020). These inquiries were stimulated, as
we understand, by a spate of recent lawsuits, most involving nursing homes and other healthcare
facilities, where patients or their estates allege that patients contracted COVID-19 because the
facility, among other things, failed to provide its staff with personal protective equipment
(“PPE”), failed to teach the staff how to properly use that equipment, or failed to ensure that its
staff used the PPE that it had been given. This Advisory Opinion addresses these questions in
the context of our administration of the PREP Act and the Secretary’s PREP Act Declaration, as
amended.
                                                            I.         Analysis
         There has been a growing number of suits related to the use or non-use of covered
countermeasures against COVID-19, including PPE. These cases tend to be filed in state courts
alleging a variety of state law-based torts. In this “jurisprudential Kabuki dance” (Maine Public
Utilities Com'n v. F.E.R.C., 625 F.3d 754, 758 (D.C. Cir. 2010)), defendants file removal
petitions and plaintiffs respond with remand motions. To resolve the remand motions, courts
first assess whether the doctrine of complete preemption applies. Ordinary preemption is a
defense and does not support Article III subject matter jurisdiction (usually under 28 U.S.C. §
1331), a prerequisite for removal. See Merrell Dow Pharmaceuticals v. Thompson, 478 U.S. 804
(1986). In contrast, complete preemption is “really a jurisdictional rather than a preemption
doctrine, [as it] confers exclusive federal jurisdiction in certain instances where Congress
intended the scope of a federal law to be so broad as to entirely replace any state-law claim.”
Marin General Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941, 945 (9th Cir. 2009)
(quoting Franciscan Skemp Healthcare, Inc. v. Cent. States Joint Bd. Health & Welfare Trust
Fund, 538 F.3d 594, 596 (7th Cir. 2008) (internal quotations omitted). Relatively few statutes
completely preempt.


1
        The PREP Act is the Public Readiness and Emergency Preparedness Act, Pub. L. No.
109-148, div. C, § 2, 119 Stat. 2818 (Dec. 30, 2005), codified at 42 U.S.C. §§ 247d-6d, 247d-6e.
It has been amended through the Pandemic and All-Hazards Preparedness Reauthorization Act of
2013, Pub. L. No. 113–5, title IV, § 402(g)(2), (3), 127 Stat. 196 (Mar. 13, 2013) and further
amended by § 6005 of the Families First Coronavirus Response Act, Pub. L. No. 116-127, 134
Stat. 177 (March 18, 2020) and § 3103 of the Coronavirus Aid Relief, and Economic Security
Act, Pub. L. No. 116-136, 134 Stat. 281 (March 27, 2020).
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A.      The PREP Act is a “Complete Preemption” Statute
        The Supreme Court first articulated the doctrine of complete preemption as a basis for
federal question removal jurisdiction under 28 U.S.C. § 1441(a) in Avco Corp. v. Aero Lodge No.
735, Intern. Ass'n of Machinists and Aerospace Workers, 390 U.S. 557, 559 (1968) (holding that
the Labor Management Relations Act, 1947 completely preempted state court jurisdiction).
Thereafter, the doctrine was extended to the Employee Retirement Income Security Act of 1974
in 1987, the National Bank Act in 2003, and the Air Transportation Safety and System Stability
Act in 2005. See Metropolitan Life Insurance Co. v. Taylor, 481 U.S. 58 (1987) (ERISA
completely preempts state law); Aetna Health Inc. v. Davila, 542 U.S. 200 (2004) (the same);
Beneficial Nat'l Bank v. Anderson, 539 U.S. 1, 7–11 (2003) (National Bank Act completely
preeempts); In re WTC Disaster Site, 414 F.3d 352, 375 (2d Cir. 2005) (Air Transportation
Safety and System Stability Act completely preempted state claims and ousted state courts of
jurisdiction by creating an exclusive federal cause of action). The sine qua non of a statute that
completely preempts is that it establishes either a federal cause of action, administrative or
judicial, as the only viable claim or vests exclusive jurisdiction in a federal court. The PREP Act
does both.
        Once complete preemption attaches, the district court is usually obligated to dismiss the
case as pleaded, either because no federal cause of action is alleged or the exclusive initial venue
is a federal administrative agency.
         All that is well and good, but it does not address the issue that appears to have perplexed
district courts, namely when is the PREP Act triggered. District courts appear to have labored
hard attempting to ordain whether the non-use of a covered countermeasure triggers the PREP
Act and its complete preemption regime. At one extreme, plaintiff may have pleaded that the
facility failed in toto to provide any of its staff or patients with any PPE, a covered
countermeasure if NIOSH approved or FDA cleared or waived. Other plaintiffs allege that the
quantity of PPE was inadequate, that staff were not timely provided PPE or that staff were not
adequately trained to use PPE. The latter three complaints reflect many of the complaints that
we have reviewed.
        The PREP Act’s immunity provision, which triggers exclusive federal jurisdiction, states
as follows:
               Subject to the other provisions of this section, a covered person shall be immune
               from suit and liability under Federal and State law with respect to all claims for
               loss caused by, arising out of, relating to, or resulting from the administration to
               or the use by an individual of a covered countermeasure if a declaration under
               subsection (b) has been issued with respect to such countermeasure.
Public Health Service Act § 319F-3(a)(1), 42 U.S.C. § 247d-6d(a)(1) (emphasis supplied).
        The PREP Act goes on to provide that its immunity
               applies to any claim for loss that has a causal relationship with the administration
               to or use by an individual of a covered countermeasure, including a causal

                                                  2
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                    relationship with the design, development, clinical testing or investigation,
                    manufacture, labeling, distribution, formulation, packaging, marketing,
                    promotion, sale, purchase, donation, dispensing, prescribing, administration,
                    licensing, or use of such countermeasure.
Id. at § 319F-3(a)(2)(B), 42 U.S.C. § 247d-6d(a)(2)(B) (emphasis supplied).
        Some district courts have interpreted the scope of the immunity in subparagraph (B) as
requiring “use.” Under this view, if a covered countermeasure were not used, then there is no
PREP Act immunity. According to one court, “[t]here is simply no room to read [the PREP Act]
as equally applicable to the non-administration or non-use of a covered countermeasure.” Lutz v.
Big Blue Healthcare, Inc., ___F. Supp. 3d ___, 2020 WL 4815100, at *8 (D. Kan. 2020)
(emphasis in original) (granted remand motion).
        However, this “black and white” view clashes with the plain language of the PREP Act,
which extends immunity to anything “relating to” the administration of a covered
countermeasure. For example, consider a situation where there is only one dose of a COVID–19
vaccine, 2 and a person in a vulnerable population and a person in a less vulnerable population
both request it from a healthcare professional. In that situation, the healthcare professional
administers the one dose to the person who is more vulnerable to COVID–19. In that
circumstance, the failure to administer the COVID–19 vaccine to the person in a less-vulnerable
population “relat[es] to . . . the administration to” the person in a vulnerable population. The
person in the vulnerable population was able to receive the vaccine only because it was not
administered to the person in the less-vulnerable population. Prioritization or purposeful
allocation of a Covered Countermeasure, particularly if done in accordance with a public health
authority’s directive, can fall within the PREP Act and this Declaration’s liability protections.
There can potentially be other situations where a conscious decision not to use a covered
countermeasure could relate to the administration of the countermeasure. In contrast, the failure
to purchase any PPE, if not the outcome of some form of decision-making process may not be
sufficient to trigger the PREP Act.
        Where a facility has been allocated a scarce therapeutic purchased by the federal
government and that facility fails to administer that therapeutic to an individual who meets the
requirements of the FDA’s authorization, approval, or license, and whose physician prescribes
that therapeutic, then the facility’s refusal to administer that therapeutic could still trigger the
PREP Act assuming the non-use of the therapeutic was the result of conscious decision-making.
However, the facility may still be liable under the PREP Act, if the plaintiff alleges that the
decision to deny him or her the therapeutic was wanton and willful and resulted in death or
serious injury. See 42 U.S.C. § 247d-6d(d)-(e). Such a case would be transferred to the District
Court for the District of Columbia for resolution by a three-judge panel. The facility may also
be subject to a federal enforcement action.




2
    For simplicity, this example assumes a patient only requires one dose of the vaccine.

                                                            3
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        The language of the PREP Act itself supports a distinction between allocation which
results in non-use by some individuals, on the one hand, and nonfeasance, on the other hand, that
also results in non-use.
       Included within the set of “covered persons,” i.e., those entitled to immunity, are
“program planners.” 42 U.S.C. § 247d-6d(i)(2)(B)(iii). A “program planner” is
               a State or local government, including an Indian tribe, a person employed by the
               State or local government, or other person who supervised or administered a
               program with respect to the administration, dispensing, distribution, provision, or
               use of a security countermeasure or a qualified pandemic or epidemic product,
               including a person who has established requirements, provided policy guidance,
               or supplied technical or scientific advice or assistance or provides a facility to
               administer or use a covered countermeasure in accordance with a declaration
               under subsection (b).
Id. at § 247d-6d(i)(6).
        A program planner is someone who is involved in providing or allocating covered
countermeasures. Program planning inherently involves the allocation of resources and when
those resources are scarce, some individuals are going to be denied access to them. Therefore,
decision-making that leads to the non-use of covered countermeasures by certain individuals is
the grist of program planning, and is expressly covered by PREP Act
        There are going to be circumstances where plaintiff pleads that defendant’s culpability is
the result of its failure to make any decisions whatsoever, thereby abandoning its duty to act as a
program planner or other covered person. Although this is a small hole through which to wiggle
to avoid complete preemption, we are confident, were it not for two legal constraints, that it
would grow as plaintiffs become more adept at fashioning their pleadings. However, “complete
preemption . . . functions as an exception to the well-pleaded complaint rule.” Giles v. NYLCare
Health Plans, Inc., 172 F.3d 332, 336 (5th Cir. 1999). Thus, federal courts are free to entertain
discovery to ascertain, for jurisdictional purposes, the facts underlying the complaint. See United
Surgical Assistants, LLC v. Aetna Life Ins. Co., 2014 WL 4059889, at *1 (M.D. Fla. Aug. 14,
2014) (allowing jurisdictional discovery on whether plaintiff’s claim was completely preempted
by ERISA).
B.      Fourth Amendment to the Secretary’s Declaration Supports the Grable Doctrine
        In addition to complete preemption as the basis for article III jurisdiction and removal,
the Court recognized a separate doctrine in Grable & Sons Metal Products, Inc. v. Darue
Engineering & Mfg., 545 U.S. 308 (2005). Under Grable, even in the absence of a claim arising
under federal law, “a federal court ought to be able to hear claims recognized under state law that
nonetheless turn on substantial questions of federal law, and thus justify resort to the experience,
solicitude, and hope of uniformity that a federal forum offers on federal issues.” Grable & Sons
Metal Products, Inc. v. Darue Engineering & Mfg., 545 U.S. 308, 312 (2005) (emphasis
supplied). Thus, a substantial federal question is implicated, for example, where “the

                                                 4
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interpretation of a federal statute [ ] actually is in dispute in the litigation and is so important that
it sensibly belongs in federal court.” 545 U.S. at 315. Here, ordaining the metes and bounds of
PREP Act protection in the context of a national health emergency necessarily means that the
case belongs in federal court. The Secretary, in his Fourth Amendment to his PREP Declaration,
similarly concluded, when he stated that
         [t]here are substantial federal legal and policy issues, and substantial federal legal and
         policy interests within the meaning of Grable & Sons Metal Products, Inc. v. Darue
         Eng’g. & Mf’g., 545 U.S. 308 (2005), in having a unified, whole-of-nation response to
         the COVID–19 pandemic among federal, state, local, and private-sector entities.
85 Fed. Reg. at 79,197 (col. c).
See also 42 U.S.C. § 247d-6d(b)(7) (“No court of the United States, or of any State, shall have
subject matter jurisdiction to review, whether by mandamus or otherwise, any action by the
Secretary under this subsection.”). As such, the secretarial determination provides the
underlying basis for invoking the Grable doctrine with respect to all claims for loss caused by,
arising out of, relating to, or resulting from the administration to or the use by an individual of a
covered countermeasure. Once invoked, the court retains the case to decide whether the
immunity and preemption provisions apply; if they do not apply, then the court would try the
case as it would a diversity case. If the court finds, though, that the PREP Act applies, it would
dismiss the case or if death or serious physical injury proximately caused by willful misconduct
is alleged, transfer it to the District Court for the District of Columbia. See 42 U.S.C. § 247d-
6d(d)-(e).
                                              II.      Limitations
        This Advisory Opinion may be supplemented or modified. It is intended to minimize the
need for individual advisory opinions. This Advisory Opinion sets forth the current views of the
Office of the General Counsel. 3 It is not a final agency action or a final order. It does not have
the force or effect of law.




                                                      Robert P. Charrow
                                                      General Counsel
                                                      January 8, 2021




3
          See Air Brake Sys., Inc. v. Mineta, 357 F.3d 632, 647–48 (6th Cir. 2004) (holding that the Chief Counsel of
the National Highway Traffic Safety Administration had delegated authority to issue advisory opinions to regulated
entities in fulfillment of a congressional directive to promote regulatory compliance); 5 U.S.C. § 301 (“The head of
an executive department . . . may prescribe regulations for the government of his department, the conduct of its
employees, [and] the distribution and performance of its business[.]”); Statement of Organization, Functions, and
Delegations of Authority, 85 Fed. Reg. 54,581, 54,583 (Sept. 2, 2020).

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                          EXHIBIT E
Electronically FILED by Superior Court of California, County of Los Angeles on 07/06/2021 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Salazar-Menjivar,Deputy Clerk
                              Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 61 of 62 Page ID #:61




                                                                                                                                                                      POS410
                   ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                                  FOR COURT USE ONLY
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                    ATTORNEY FOR; Plaintiff
                   LOS ANGELES COUNTY SUPERIOR COURT, COUNTY OF LOS ANGELES
                     STREETADDRESS: 111 North                           Hill Street,      Los Angeles
                     MAILING ADDRESS: 111 North                         Hill Street,      Los Angeles
                    CITY AND ZIP CODE: CA, 90012
                        BRANCH NAME: Nein
                    PIAINTIFF:            Eric Hclloway, et al                                                                 CASE NUMBER:
                   DEFENDANT;             Centinela skilled Nursing                 6   wellness Centre west,                  21STCV17868
                                          et al
                                                                                                                               Ref. No. or File Nor
                                                   PROOF OF SERVICE OF SUMMONS                                                 20-00750-CA
                                                                    (Separate proo/of service Is required for each par/y sen ed.)
                         At the time of service          I   was at least 18 years of sge and not a party lo this action.

                         a.        ~
                         I served copies of;




                                   ~       summons
                         b.
                         c.        ~
                                   ~
                                           complaint
                                           Alternative Dispute Resolution (ADR) package

                      e.
                      f.
                         d.
                                   ~
                                   Civil Case Cover Sheet (served In complex cases only)


                                   ~
                                   cross-complaint
                                   other (spedfy documents):
                            Notice Of Case Assignment; Standing Order, Clerk's Certilicate Of Mailing; Declaration Of Shalimah Abdullah
                                                                                                                                           As
                           Successor In Interest To Eric Holloway To Maintain Action Pursuant To Code Of Civil Procedure 377.32
                      a. Party served (speci/y name of party as shown on documents served):
                           BRIUS IJJINASENENT CO., a California Company
                      b.   ~X     Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                  under item Sb on whom substituted service wss made)
                           Brittany Carpia / Authorized To Accept Service Of Process
              4.     Address where the party was served:
                         3580 WIlshire Boulevard,                           Suite 600, Los Angeles,           CA   90010
              5.     Iserved the party (chec/r proper box)
                     a. ~X       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                                 receive service of process for the party (1) on (dsie) 06/28/2021 (2) et (time) 12 I 15 PW
                                 Description: Age: 30s, Sex: F, Race/Skin Color. white. Height: 5'6", Weight: 150, Hair. Black, Glasses: I

                     b.            ~       by substituted service. On (dele):                   at (ffme):            I left the documents listed in item 2 wilh
                                           or in the presence of (name and title or relationship to person Indicated in item 3):

                                           (1)   ~       (business) a person at least 18 years of age apparently in charge at the office or usual place of

                                           (2)   ~       business of the person to be served. I informed him or her of the general nature of the papers.
                                                         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual

                                           (3)   ~       place of abode of the party. I Informed him or her of the general nature of the papers.
                                                         (physical address unknown) a parson at feast 18 years of age apparently in charge at the usual
                                                         mailing address of the person to be served, other than a United States Postal Service post office box.

                                                 ~
                                                                                                                                                                                I
                                                         Informed him or her of the general nature of the papers.
                                           (4)           Ithereafter mailed (by first-dass, postage prepaid) copies of the documents to the person to be served
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                           Case 2:21-cv-06106 Document 1 Filed 07/28/21 Page 62 of 62 Page ID #:62




                   ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                                                                 POS-010
                                                                                                                                             FOR COURT USE ONLY
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                   San Diego,        CA    92101
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                     ATTORNEY FOR: Plainti f f
                   LOS ANGELES COUNTY SUPERIOR COURT, COUNTY OF LOS
                                                                     ANGELES
                     STREET ADDRESS: 111 North Hill Street Los Angeles
                     MAILING ADDRESS: 111 North Hill Street, Los Angeles
                    CITY AND ZIP CODE: CA, 90012
                           BRANCH NAME; Main
                     PLAINTIFF:      Eric Holloway, et el                                                                         CASE
                   DEFENDANT;        Centire a Skilled Nursing                 6   Wellness Centre west,                                 NUMBER'1STCV17868



                                     et al
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                                             PROOF OF SERVICE OF SUMMONS
                                                                                                                                  20-0075D-CA
                                                       (Separate pmof of service is regain. d for each parly seared.)
                      At  the time of service I was at least 18 years of ege and not e party to this action.

                      a.       ~
                       I served copies of:




                               ~     summons
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                      c.       ~
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                                     complaint
                                    Alternative Dispute Resolution (ADR) package
                      d.
                      e.
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                                     Civil Case Cover Sheet (served in complex cases only)
                                    cross-complaint
                                    other (specify documents):
                              Notice Of Case Assignment; Standing Order, Clerk's Cerlificate Of Mailing;
                                                                                                             Declaration Of Shalimah Abdullah As
                             Successor In Interest To Eric Holloway To Maintain Action Pursuant To Code Of Civil Procedure
                                                                                                                                 377.32
                      a. Party served (specify name of parly as shown on documents served):
                             CENTINELA SKILLED HORSING 6 WELLNESS CENTRE WEST, LIC
                                                                                                         dba CENTINELA SKILLED NDRSING 6
                               wELLNEss CENTRE wEST,             s   california Skilled Nursing Facility
                     b.        ~X    Person (other than the party In item 3a) served on behalf of an entity or as an authorized
                                     under item Sb on wham substituted service was made)                                        agent (and not a person
                               Brittany Csrpio / Authorized To Accept Service Of process
              4.     Address where the party was served:
                         3580 WIlshire Boulevard,                    suite      600, Los Angeles, cA 90010
              5.     I served the party (check proper box)

                     a.    ~X     by personal service. personagy de(ivered the documents listed in item 2 to the
                                                                 I
                                                                                                                 party or person authorized to
                                  receive service of process for the party (1) on (date)06/28/2021 (2) at (lime)12015    FM
                                  Description: Age: 30s, Sex: F. Race/Skin Color. white, Height:                     5'",
                                                                                                      Weight: 150, Hair: Black, Glasses: I
                     b.        ~     by substituted service. On (dale):                   at (lime):             lefl the documents listed in item 2 with
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                                           ~    (business) a person at least 18 years of age apparently in charge at the office or usual place of

                                     (2)   ~    business of the person to be served. I informed him or her of the general nature of the
                                                                                                                                        papers.
                                                (home) a competent member of the household (al least 18 years of age) at the dwelling house
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                                     (3)   ~    place of abode of the party. I informed him or her of the general nature of the papers.
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